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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION


    DOCTORS HOSPITAL OF LAREDO,                                §
    LAREDO PHYSICIANS GROUP,                                   §
                Plaintiffs                                     §                    SA-21-CV-01068-XR
                                                               §
    -vs-                                                       §
                                                               §
    DR. RICARDO CIGARROA,                                      §
    CIGARROA HEART AND VASCULAR                                §
    INSTITUTE, LAREDO TEXAS                                    §
    HOSPITAL COMPANY, LP, D/B/A                                §
    LAREDO MEDICAL CENTER,                                     §
                  Defendants                                   §


                                    SUMMARY JUDGMENT ORDER

           On this date, the Court considered Defendants’ motion for summary judgment (ECF Nos.

145, 164), Plaintiffs’ response (ECF No. 167), Defendants’ reply (ECF No. 169), Plaintiffs’ sur-

reply (ECF No. 175), and Defendants’ response to the sur-reply (ECF No. 178). The Court also

considered Defendants’ objections to Plaintiffs’ summary judgment evidence and motion to strike

(ECF No. 171), Plaintiffs’ response (ECF No. 172), and Defendants’ reply (ECF No. 176)). After

careful consideration of the briefing, the parties’ oral arguments on December 20, 2024, and the

parties’ supplemental submissions (ECF Nos. 181, 182, 183), the Court GRANTS the motion. 1

                                                INTRODUCTION

           This antitrust case concerns the provision of interventional cardiology services in Laredo,

Texas. Plaintiffs and Defendants compete against each other and are the sole players in the market.

Plaintiffs are Doctors Hospital of Laredo (“DHL”) and the Laredo Physicians Group (“LPG”),


1
  The parties submitted sealed exhibits that the Court sua sponte revisited, consistent with the Fifth Circuit’s standard
that “the court must undertake a document-by-document, line-by-line balancing of the public’s common law right of
access against the interests favoring nondisclosure” and the “working presumption [] that judicial records should not
be sealed.” June Medical Services, LLC v. Phillips, 22 F.4th 512, 518 n. 3, 521 (5th Cir. 2022) (citations and internal
quotation marks omitted); see Text Orders, January 5, 14, 2025. The Court refers to the unsealed record throughout.


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which is affiliated with DHL and employs interventional cardiologists and other physicians.

Defendants are Dr. Ricardo Cigarroa (“Dr. Cigarroa”), an interventional cardiologist in Laredo,

the Cigarroa Heart and Vascular Institute (“CHVI,” a/k/a the “Cigarroa Clinic,” together the

“Cigarroa Defendants”), and Laredo Texas Hospital Company, LP, d/b/a/ Laredo Medical Center

(“LMC”). 2

           For years, Dr. Cigarroa has treated patients at DHL, LMC, and his own clinic, the Cigarroa

Clinic. Beginning in August 2020, Plaintiffs sought to expand their interventional cardiology

practice on their own. But they ran into roadblocks. Plaintiffs (i) failed to hire new interventional

cardiologists they attempted to recruit, (ii) lost Dr. Cigarroa (and his son, Dr. Cigarroa II, also an

interventional cardiologist), who moved their practice to LMC, and (iii) lost their only

cardiovascular surgeon—Dr. Anthony Santos—and related employees, who were recruited by

LMC. Plaintiffs have not gone out of business; they have successfully hired new interventional

cardiologists and continue to provide interventional cardiology treatment to patients in Laredo.

Still, Plaintiffs insist that the roadblocks they encountered were not due to market competition but

to Defendants’ anticompetitive conduct.

           Plaintiffs assert that these roadblocks were the result of illicit agreements and conspiracies

to (i) prevent Plaintiffs from recruiting new interventional cardiologists, (ii) refuse to deal with

Plaintiffs, and (iii) solicit and poach DHL’s staff, all to stamp out competition and monopolize the

interventional cardiology market. Accordingly, they bring claims under Sections 1 and 2 of the

Sherman Act and Texas state law.

           On summary judgment, Defendants assert that Plaintiffs have marshaled insufficient

evidence to support their claims and that Plaintiffs lack antitrust injury. The Court agrees.



2
    Defendant Laredo Physicians Associates was previously terminated from this case. See ECF No. 64 at 37.


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        While there is evidence of some of these conspiracies, the record lacks evidence that they

caused anticompetitive effects, nor is much of the conduct anticompetitive itself. Plaintiffs’ state

law claims fail because Defendants did not engage in independently actionable tortious conduct.

As Plaintiffs’ counsel acknowledged at oral argument, Plaintiffs filed this action to stop

Defendants’ conduct. They may have succeeded. But that does not mean that the conduct violated

the antitrust laws.

                                         BACKGROUND

        The Court recites the relevant facts, unless stricken under the Court’s rulings on

Defendants’ motion to strike. See Analysis, Part I. These are undisputed, unless otherwise stated.

    A. Interventional Cardiology

        Cardiology is the field of medicine that involves monitoring, diagnosing, and treating

diseases of the cardiovascular system—the heart and blood vessels. ECF No. 167-1 at 21.

Interventional cardiology is a board-certified subspecies of cardiology that uses non-invasive or

minimally invasive procedures to treat patients with certain heart issues. Id. at 21–22. The practice

of interventional cardiology is considered distinct from, but works in tandem with, the practice of

general cardiology.

        Patients with heart issues are treated in a variety of ways, including (i) medical care (e.g.,

drugs and behavioral modifications), (ii) surgeries (e.g., bypass and other open-heart procedures,

which are performed by a cardiothoracic surgeon), (iii) interventional procedures (e.g., catheter-

based treatments, which are performed by an interventional cardiologist) and (iv) structural

procedures (e.g., valve replacements, which are performed by an interventional cardiologist and

surgeon working together). ECF No. 145 at 5. Interventional procedures include treating an “ST-

segment elevation myocardial infarction” (“STEMI”)—a heart attack. ECF No. 167-1 at 23.




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Structural procedures, a newer development, include transcatheter aortic valve replacement

(“TAVR”), which can treat severe aortic stenosis, a disease in which the aortic valve narrows (and

even closes), reducing blood flow. Id. at 26. Previously only treatable by open heart surgery, this

procedure is easier on patients, who are now often discharged the next day. Id. As interventional

cardiology has developed, the need for surgical procedures, such as open-heart surgery, has

decreased. Id. at 168.

       Interventional cardiology procedures require a catheterization lab (“Cath Lab”) to perform

treatment. Depending on the severity of the patient’s symptoms, treatment is provided outpatient

or inpatient. Id. at 22–23. Outpatient services are for elective treatment and low-risk patients who

have less severe symptoms and need not be performed at a hospital. Id. Inpatient treatment is for

non-emergency patients who are admitted to the hospital, high-risk patients, and emergencies such

as STEMIs. Id. at 23, 239. Inpatient treatment must be performed at a hospital. Id. at 23. A patient

with a heart-related issue may not initially know if he needs inpatient or outpatient treatment.

       When treating STEMIs, “time is muscle” and the goal is to have patients seen and treated

within 90 minutes of arriving at a hospital. Id. at 27. For a hospital to provide care to heart attack

patients, it must have at least one interventional cardiologist and the corresponding support staff

on call 24/7: during nights, weekends, and holidays. Id. at 25. Without these resources, a hospital

may need to turn away heart attack patients. Id. at 25.

   B. Who’s-Who in Laredo’s Cardiology Market

       Doctors Hospital of Laredo and Laredo Medical Center. Defendant LMC is the largest

hospital in Laredo, with 326 beds; Plaintiff DHL is the second-largest, with 183 beds. ECF No.

167 at 13. LMC and DHL are the only acute-care hospitals that provide interventional cardiology




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services in Laredo. ECF No. 167-1 at 226. Each is the other’s primary competitor for inpatient

treatment, and both compete for outpatient treatment as well. Id.

           If a patient needs inpatient cardiology services in Laredo, they can go to DHL or LMC. A

patient who does not want to go to either would have to leave Laredo and travel to a hospital in a

different geographic area.

           Laredo Physicians Group. Plaintiff LPG is a physician group affiliated with DHL. ECF

No. 188-2 at 12. LPG employs and contracts with the physicians who provide medical services at

DHL, including interventional cardiologists and locums tenens contract physicians. Id. at 13.

Locums tenens physicians are temporary positions that physicians take as independent contractors.

Id. at 23. Under locum contracts, physicians are required to work specific shifts, rather than a per-

diem physician role. Id. According to Plaintiffs’ expert, Dr. Weston C. Hickey, locums physicians

“do not offer the same benefits as a full-time physician, such as continuity of care for patients, and

are often more expensive for a hospital to use.” ECF No. 167-1 at 17.

           Dr. Cigarroa. Dr. Cigarroa is a well-known physician and a general and interventional

cardiologist in Laredo, where he has practiced since he completed his training in 1990. Id. at 165.

Dr. Cigarroa is an independent physician, which means he owns a private practice and performs

services at medical facilities where he holds privileges. ECF No. 167 at 14.

           In his first ten years of practice in Laredo, Dr. Cigarroa only practiced at LMC. ECF No.

167-1 at 174. Over the next decade, he practiced primarily at DHL, while continuing to perform

some procedures at LMC. Id. Today, he performs procedures only at LMC, 3 id., and provides

outpatient treatment at his own clinic, the Cigarroa Clinic, id. at 236.




3
    While Dr. Cigarroa retained privileges at DHL, he no longer practices there. Id. at 173.



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         The Cigarroa Clinic. The Cigarroa Clinic—previously known as CHVI—provides,

among other services, interventional cardiology treatment in Laredo. ECF No. 145 at 6. While the

Cigarroa Clinic sees “new patients [and] consults,” outpatient interventional cardiology

procedures are not performed there. ECF No. 167-1 at 237–38. Instead, they are performed using

the Cath Lab at the Cigarroa Interventional Institute, which Dr. Cigarroa opened in 2020. 4 Id. at

238; ECF No. 145 at 7. As neither the Cigarroa Clinic nor the Cigarroa Interventional Institute is

a hospital, no inpatient procedures are performed at either. LMC views the Cigarroa Interventional

Institute as a “competitor for the provision of outpatient interventional cardiology procedures.”

ECF No. 167-1 at 742.

         Other Cigarroas. The Cigarroas have deep roots in Laredo, and many family members

have practiced medicine in the area, including three Cigarroas who are interventional cardiologists.

Dr. Cigarroa’s brother, Dr. Carlos Cigarroa, continues to hold privileges and practice at DHL. ECF

No. 167 at 14. Dr. Joaquin Guzman, Dr. Cigarroa’s nephew, practiced at the Cigarroa Clinic and

LMC, but recently moved to Austin. ECF No. 167-1 at 165.

         Dr. Ricardo Cigarroa II (“Dr. Cigarroa II”), Dr. Cigarroa’s son, started practicing in Laredo

in August 2020. Id. at 208. At the time, he was the only interventional cardiologist in Laredo

trained in structural heart procedures, including TAVRs. ECF No. 167 at 15. Although he signed

a salary subsidiary agreement with LMC before he arrived, 5 he treated patients at DHL, LMC, and

the Cigarroa Clinic when he started practicing. ECF No. 167-1 at 208–09. Today, he works

exclusively at LMC and the Cigarroa Clinic. Id. at 210.




4
 The parties treat the Cigarroa Clinic and the Cigarroa Interventional Institute as the same, and so the Court does also
for purposes of this motion.
5
 Dr. Joaquin Guzman signed a similar salary subsidy agreement with LMC when he arrived in Laredo around July
2021. ECF No. 167-1 at 210.


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       When Dr. Cigarroa II arrived in Laredo, he reached out to Dr. Allen Anderson (“Dr.

Anderson”) at the University of Texas Health Science Center – San Antonio (“UTHSCSA”) to

build an academic relationship and a referral network for patients who need complex care,

including TAVRs, that could not be performed in Laredo. Id. at 213. Dr. Cigarroa II refers patients

who require TAVRs (or other structural heart procedures) to UTHSCSA. Id. at 241.

       After Dr. Cigarroa II began to practice, the Cigarroas accounted for three out of the four

practicing interventional cardiologists in Laredo. The other was Dr. Pedro Diaz, who held

privileges and practiced only at DHL. ECF No. 167 at 14. Like Dr. Cigarroa, the other

interventional cardiologists are independent physicians. Id.

       Dr. Arthur Santos. Dr. Santos, a cardiothoracic surgeon and a friend of Dr. Cigarroa, was

the only cardiothoracic surgeon in Laredo before the start of this case and performed procedures

at DHL under an exclusive contract with LPG. ECF No. 167-1 at 329–30. In fact, because surgical

and structural cardiology procedures must be performed by cardiothoracic surgeons, DHL was

therefore the only hospital that provided cardiovascular surgeries.

       In May 2020, Dr. Santos signed a new three year-employment agreement with LPG, which

included a one-year covenant not to compete and a two-year covenant not to solicit DHL’s

employees upon termination of the employment agreement. Id. at 365–75. At that time, Dr. Santos

asked DHL to work with him on a succession plan so he could retire at the end of this new term.

ECF No. 145-2 at 190. Yet as of September 2020—mere months after he signed his extension—

DHL admitted internally that it was DHL’s “choice as to how long [it] should keep Dr. Santos,”

given the availability of potential replacements. ECF No. 167-1 at 704.




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      C. Structural Heart Program Expansion and Disputes with DHL

           In the first half of 2020, Dr. Cigarroa and Dr. Santos met with Charles Stark, a Universal

Health Services Regional Vice President overseeing DHL while it was between CEOs. 6 ECF No.

145-2 at 266–68. They discussed DHL’s needs for cardiology services, a potential expansion and

opportunity for collaboration, including a potential structural heart practice that would require

DHL to hire an interventional cardiologist and cardiothoracic surgeons and invest in specialized

equipment. Id.; ECF No. 167-1 at 360.

           In a follow-up letter to Dr. Cigarroa and Dr. Santos, Mr. Stark noted that “as part of our

collective efforts to grow the cardiac program,” DHL wanted to meet about the potential to “work

with” Dr. Cigarroa in the Cath Lab he already built. ECF No. 145-2 at 268. Mr. Stark stated that

“[w]orking collaboratively” would be “essential” to supporting the TAVR program.” DHL even

floated a potential joint venture with the Cigarroa Clinic’s new Cath Lab. Id. at 278.

           This partnership did not come to fruition.

      D. DHL Attempts to Expand Their Cardiology Practice On Their Own

           In August 2020, DHL hired a new CEO, Emma Montes-Ewing. Ms. Montes-Ewing “very

quickly” realized that a partnership between DHL and the Cigarroa Defendants was unlikely to be

successful due to an unalignment of interests, 7 and set off to build DHL’s structural heart practice

independently. ECF No. 167-1 at 704.




6
    Universal Health Services is DHL’s parent company. Id. at 734.
7
 DHL was dissatisfied with Dr. Cigarroa’s requests that DHL invest in its own facilities, equipment, and providers
while he separately pursued his and his families’ own business opportunities, including his Cath Lab and family
partnerships with LMC. ECF No. 167-1 at 704. Dr. Cigarroa, for his part, expressed frustration with DHL’s facilities,
noting DHL’s “aging” equipment, inadequate capacity for his patients, and lack of cardiologists and cardiovascular
surgeons. ECF No. 145-2 at 277, 450–51. According to Dr. Cigarroa, he conveyed these concerns to DHL but “did
not believe [DHL] was taking the actions needed to address these concerns.” Id. at 451.


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       After analyzing Laredo’s market, Ms. Montes-Ewing concluded that, to serve its

population of over 260,000, Laredo needed at least twenty cardiologists, most of whom should be

interventional cardiologists. Id. at 732. Not only was this below the level Laredo had at that time,

but Ms. Montes-Ewing was concerned about a lack of coverage at DHL given that Dr. Cigarroa

and his brother would often provide concurrent STEMI coverage at DHL and LMC. Id. She

believed that this practice, known as “stacked coverage,” could lead to unsafe delays in care. Id.

       Ms. Montes-Ewing embarked on a plan to expand DHL’s interventional cardiologist

practice by attempting to recruit new interventional cardiologists. According to DHL’s own

internal communications, the goal of the initiative was to “better control [its] business” and create

“independence,” “rather than relying on the Cigarroa cardiologists,” who could leave DHL at any

time and shift their practice to a competitor. ECF Nos. 186-4 at 7, 145-2 at 281. Ms. Montes-Ewing

relayed to Mr. Stark at the time that “building our program without the Cigarroas is the intention.”

ECF No. 145-2 at 276.

       Dr. Michael Blanc Recruitment. In September 2020, Ms. Montes-Ewing contacted Dr.

Michal Blanc to gauge his interest in moving to Laredo to practice full-time. ECF No. 167-1 at

733. Ms. Montes-Ewing asked Dr. Blanc if he was interested in establishing a cardiology clinic,

as well as providing inpatient services and STEMI call coverage to supplement the existing set of

physicians in the community. Id. at 733. This was no guarantee, as Ms. Montes-Ewing believed

Dr. Blanc was only “60% ‘sold’ on Laredo.” Id. at 704. On September 11, Dr. Blanc traveled to

Laredo to meet with Plaintiffs and local physicians—including Dr. Carlos Cigarroa and Dr.

Cigarroa II—and tour DHL’s facilities. Id. at 183, 452.

       The day before—after Ms. Montes-Ewing told Dr. Cigarroa of her plan to recruit Dr. Blanc,

id. at 303—Dr. Cigarroa texted her that he was “against” DHL’s recruitment of Dr. Blanc or any




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other interventional cardiologist to Laredo before his son was “given . . . a chance to set his feet”

and establish his own practice, id. at 440. Dr. Cigarroa said that he “would have preferred [she]

discuss this with us in person . . . and have recruited through our own practice.” Id. While Dr.

Cigarroa told her that he believed hiring Dr. Blanc was the “wrong approach,” he also said Ms.

Montes-Ewing should “do as [she] see[s] fit,” and that “we will both move in different directions

[sic].” Id. at 442, 447. Dr. Cigarroa testified that he believed Ms. Montes-Ewing “ha[d] an entirely

different plan for cardiology [in Laredo] and that that plan [was] going to be without the

Cigarroas.” ECF No. 145-2 at 68. These conversations were between the two of them and no

evidence suggests these sentiments were shared with Dr. Blanc.

       On October 7, nearly a month after Dr. Blanc visited, Dr. Blanc texted Ms. Montes-Ewing

and asked her if there was “[a]ny conversation on bridging the divide with the Cigarroa [sic]

family.” ECF No. 167-1 at 461. She did not directly respond. On October 16, Plaintiffs sent Dr.

Blanc a draft Letter of Intent under which he would provide interventional cardiology services as

a full-time employee of LPG at DHL. ECF No. 167 at 18. In response, Dr. Blanc requested a

Medical Directorship at an hourly fee of $300 for 40-50 hours per month. ECF No. 167-1 at 464.

DHL’s own communications reveal there was no “way [it] could get close to those numbers,” that

DHL did “not have any doctor at [that hourly fee] for medical direction and no one at 40-50 hours

per month, and that it,” “[could not] pay [Dr. Blanc] more than any others.” Id.

       While DHL commissioned a “Fair Market Value” analysis that aligned with the hourly

rate, this analysis calculated a maximum of 360 hours annually, ECF No. 186-10 at 2, which is

below the 40-50 hours per month that Dr. Blanc requested. Dr. Blanc later declined Plaintiffs’

offer. ECF No. 167-1 at 733.




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           The record does not contain testimony from Dr. Blanc. But Ms. Montes-Ewing testified

that Dr. Blanc told her that he did not think he was “welcome[]” in Laredo, that it would be a

“challenge . . . to recruit,” and that he did not want to “start a war” with Dr. Cigarroa. Id. at 311,

315. Ms. Montes-Ewing also testified that Dr. Blanc used the word “monopoly” and “blacklist” in

reference to Dr. Cigarroa but did not offer the specific context. Id. at 315. Dr. Blanc, however,

never met with or spoke to Dr. Cigarroa. Nor is there any evidence that Dr. Cigarroa communicated

with or threatened Dr. Blanc or any other doctors at DHL. 8

           Dr. Feldman Recruitment. According to Ms. Montes-Ewing, the relationship with Dr.

Cigarroa “beg[an] to deteriorate.” ECF No. 145-2 at 32. Months went by and recruitment

continued. ECF No. 167-1 at 316. In July 2021, two new candidates came forward: Dr. Mehmet

Cilingiroglu (“Dr. Mehmet”) and Dr. Marc Feldman. ECF No. 167 at 21. Dr. Mehmet lived in San

Diego and was interested in practicing in Laredo. Id. Dr. Feldman was an adjoint professor at the

University of Texas Health Science Center – San Antonio (“UTHSCSA”), 9 held a research lab,

and was also interested in practicing part-time in Laredo. Id. Unlike Dr. Blanc, who was recruited

for a full-time position, Plaintiffs’ goal for Dr. Mehmet and Dr. Feldman was to have them provide

part-time heart attack call coverage per month, build and establish a cardiology clinic at DHL, and

eventually build a pipeline of medical residents from San Antonio to help grow DHL’s cardiology

program. ECF No. 167 at 21–22. DHL was also interested in having them start a structural heart

program. Id. at 22. While Dr. Mehmet eventually signed with DHL, Dr. Feldman did not.




8
  While Plaintiffs cite Ms. Montes-Ewing’s testimony to support the idea that several other members of the medical
staff told her that Dr. Cigarroa opposed Dr. Blanc coming to Laredo, ECF No. 167 at 9, her testimony says no such
thing. Instead, Ms. Montes-Ewing testified that, “in the past” Dr. Cigarroa had not supported new interventional
cardiologists and so she “belie[ved] that he did so at present. ECF No. 167-1 at 314 (emphasis added). Nor is this
testimony admissible. See infra Part I(B)(1).
9
    An adjoint professor is one who teaches and does research but does not do patient care. ECF No. 167-1 at 509.


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        After getting wind of Dr. Feldman’s recruitment, Dr. Cigarroa publicly opposed it. During

a medical staff meetings at DHL, he stated that Dr. Feldman would “create a great danger to

[Laredo]” and raised concerns over “bringing in physicians that don’t live in our community and

giving them full privileges,” which Dr. Cigarroa claimed the “bylaws protected” against. ECF No.

167-1 at 188. When asked about these comments, Dr. Cigarroa testified he was concerned about

the structural heart program that was being started and that part-time physicians would not

“maintain quality of care” and lead to “high morbidity and mortality.” Id. Dr. Cigarroa also

opposed new interventional cardiologists because he believed Laredo needed more general

cardiologists instead. Id. at 188–89. After voicing these concerns, Ms. Montes-Ewing later told

Dr. Cigarroa that DHL was not moving forward with the plan to establish a structural heart

program. Id. at 188. 10

        Notwithstanding this opposition, Dr. Feldman signed a Letter of Intent with LPG on July

15, 2021, under which Dr. Feldman would perform around seven days of STEMI coverage and

five days of clinic coverage each month at DHL. ECF No. 186-11 at 3.

        Dr. Cigarroa did not relent on Dr. Feldman’s hiring. A few days later, on July 22, Dr.

Cigarroa texted and spoke with Dr. Anderson, Dr. Feldman’s supervisor at UTHSCSA. 11 ECF No.

167-1 at 719. The only evidence about their conversations is from Dr. Cigarroa and Dr. Anderson

themselves. According to Dr. Cigarroa, they spoke about Dr. Feldman’s intent to provide structural

cardiology services at DHL. Id. He stated his concern was safety-related, that Ms. Montes-Ewing

gave Dr. Feldman an incorrect impression that the program would be feasible in the near term, and


10
  Nor was DHL ready to do so. See id. at 734; see also id. at 527 (Ms. Montes-Ewing stating, on July 21, 2021, that
DHL is “NOT planning to start a structural program at this point”); but see id. at 543 (Ms. Montes-Ewing stating, on
July 22, 2021, that “[t]he structural heart is a program that we must plan to start for Q3 or Q3 of 2022, perhaps
sooner”).
11
  The two texted each other two days in the weeks prior, but these messages were deleted. ECF No. 167 at 23. No
evidence in the record reveals what the contents of these messages were.


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so asked Dr. Anderson to “share this concern” with Dr. Feldman. Id.; see also ECF Nos. 167-1 at

190 (I called Dr. Anderson “to find out if Dr. Anderson was properly trained to do structural

cardiology”). Dr. Anderson confirmed this, testifying that Dr. Cigarroa only “mentioned that Dr.

Feldman might be coming to Laredo for a TAVR program.” ECF No. 145-2 at 219.

        During this time, Dr. Cigarroa also texted his nephew, Dr. Joaquin Guzman, stating that

Dr. Feldman’s “presence as hospitalist cardiologists is controversial” and not to discuss the issue

with Dr. Feldman. ECF No. 167-1 at 547.

        A few weeks later, in early August 2021, Dr. Anderson called Dr. Feldman. 12 Dr. Feldman

testified that Dr. Anderson told him that if he started working in Laredo part-time, he would lose

his research lab. Id. at 510. Dr. Anderson disputes this and testified that he never threatened Dr.

Feldman. ECF No. 192-1 at 10. Wanting to figure out the reason behind this threat, and that “no

one . . . was willing to reveal to [him] the motivation for why Dr. Anderson told [him his] lab could

be at risk,” ECF No. 145-2 at 128, Dr. Feldman met with Dr. William Henrich, the then-President

of UTHSCSA. ECF No. 167-1 at 510. Dr. Henrich told him he was unaware of any threat and

merely said he would investigate. 13 Id. at 510–11. To remove the threat, Dr. Feldman later sent Dr.

Henrich a proposal in which DHL, with Dr. Feldman and Dr. Mehmet on board, could “shift”—

refer—Laredo patients to UTHSCSA. ECF Nos. 167-1 at 515; 182-11.

        After this meeting, Dr. Feldman also emailed Dr. Henrich about his lab “slush fund,” which

had been taken away from him in the interim. ECF No. 167-1 at 552. While this turned out to be

a clerical error and unrelated to Laredo, id. at 514, Dr. Henrich responded that he “spoke with Dr.




12
   The parties dispute whether this was a routine meeting or not. Compare ECF No. 181 at 1 (routine meeting) with
ECF No. 182 at 4 (not a routine meeting).

 Dr. Cigarroa also made a statement about his market share to UTHSCSA, which was relayed to Dr. Feldman by Dr.
13

Henrich. Id. at 550. The record is unclear when this statement was made or in what context.


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Anderson . . . last night,” that he “believe[d] there is an amicable resolution to these matters” and

“ask[ed] that [Dr. Feldman] work directly with Dr. Anderson in order to make a plan for the

future.” Id.at 552.

       Dr. Feldman did not meet with Dr. Anderson again. Instead, he spoke with George

Hernandez, the then-CEO of UTHSCSA. Id. at 515. During this meeting, Dr. Feldman did not

mention any threat to his lab by Dr. Anderson. Id. at 516. After this meeting, Dr. Feldman

forwarded the same proposal he had sent to Dr. Henrich to “shift” Laredo patients to UTHSCSA

from DHL. Id. at 515. Following this meeting, Mr. Hernandez also had a call with Ms. Montes-

Ewing, and then spoke with Dr. Anderson. Id. at 579. Mr. Hernandez testified that none of these

conversations relayed anything about LMC “doing something wrong.” Id.

       Dr. Feldman then emailed Mr. Hernandez on August 26 to ask about the outcome of his

conversation with Ms. Montes-Ewing, stating she “told me she shared with you [Dr.] Anderson’s

comment that [his] research lab would be taken away from [him] if [he] worked in Laredo.” Id. at

585. Mr. Hernandez responded that he was unaware of any threat, that UTHSCSA was supportive

of receiving cardiology patients from DHL, but that his understanding was that DHL had

previously not been “interested” in that relationship. Id. at 584. In response, Dr. Feldman

specifically relayed Dr. Anderson’s threat. Id. at 583. Mr. Hernandez did not respond and instead

sent the email to in-house counsel. Id. at 587.

       Dr. Feldman’s attempts to remove the threat was futile. Unhappy with the potential loss of

his lab, Dr. Feldman turned down DHL’s offer, but confirmed he would have stayed but-for Dr.

Anderson’s warning. Id. at 518. Dr. Feldman eventually took another job in Kerrville that, without

threats, permitted him to continue to retain his lab. Id. at 518–19.




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           While the record does not contain evidence that establishes the reason behind Dr.

Anderson’s threat, Dr. Feldman testified that Dr. Anderson never told him he was threatened by

Dr. Cigarroa. Id. at 517. Nor did Dr. Henrich tell him Dr. Anderson was threatened by Dr. Cigarroa.

Id. Dr. Anderson likewise testified that Dr. Cigarroa did not discuss withholding of referrals nor

threaten him on their call. ECF No. 145-2 at 219–20.

       E. Dr. Cigarroa Leaves DHL for LMC

           In March 2021, amid DHL’s recruitment campaign, Dr. Cigarroa emailed LMC’s CEO,

Jorge Leal (“Mr. Leal”), to propose a partnership in which “Cigarroa Heart” would commit its

services to LMC as part of an “aggressive” campaign to secure LMC’s market share in Webb

County—much like his proposal to DHL in 2020. ECF No. 185-1 at 2. Dr. Cigarroa highlighted

the “chaos” that “new leadership at [DHL] ha[d] created” and recommended expanding LMC’s

own cardiology capabilities with new Cath Labs, equipment, and personnel. Id. Dr. Cigarroa also

outlined a plan for launching a structural heart program at LMC, starting with the recruitment of

Dr. Santos from DHL. Id. With a structural heart program, LMC could provide the full suite of

cardiology services: surgical, interventional, and structural.

           To facilitate this expansion, Dr. Cigarroa offered that he and other CHVI physicians would

support LMC with call coverage and perform some inpatient procedures at LMC. Id. In closing,

Dr. Cigarroa stated that he knew the “tight alignment will be fabulous for our community.” 14 Id.

In response, LMC expressed support, with Mr. Leal noting this would be a “huge opportunity.” Id.

           As the months progressed, this partnership became reality. In May 2021, Dr. Cigarroa, on

behalf of all the Cigarroas, texted Mr. Leal that “[w]e met as a family and all are on board to




14
     CHS is Community Health Systems, the parent company of LMC. ECF No. 167 at 20.


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committing to LMC,” and laid out the step-by-step plan of shifting their practices, including who

else needed to be hired and when they would provide notice to DHL. ECF No. 167-1 at 490.

         In August 2021—during the time Dr. Feldman was being recruited—Dr. Cigarroa and Dr.

Cigarroa II revealed their plan by formally shifting their inpatient practice exclusively to LMC. Id.

at 607 (notice to DHL to cease providing STEMI call coverage and that Dr. Cigarroa II was

downgrading his medical privileges).

         Privately, Dr. Cigarroa II referenced the reason for his departure as “due to some politics”

but that the situation is “hopefully not too long.” Id. at 610. But Dr. Cigarroa and Dr. Cigarroa II

stopped providing treatment at DHL. Id. at 649. Yet internal communications at DHL reveal

management indifference to Dr. Cigarroa’s departure, with Mr. Stark noting that the “termination

notice [was] not unexpected” and instead “reflects [the Cigarroa’s] inability to accept a direction

that they do not/cannot absolutely control.” ECF No. 145-2 at 295. Another DHL executive agreed

that the Cigarroas were “[d]oing [DHL] a favor and removing cost for which we get nothing.” Id.

    F. Dr. Santos and Others Leave DHL for LMC

         The shift from DHL to LMC was not just the Cigarroas. Defendants sought to recruit

DHL’s own employees: Dr. Santos, nurses, and technicians who worked alongside him. 15 The

discussions for this shift also began during DHL’s recruitment. In May 2021, Dr. Cigarroa and Mr.

Leal discussed how hiring nurses and staff to support Dr. Santos were necessary “to make [the

partnership] work.” ECF No. 167-1 at 500. By doing so, LMC would have the upper hand in

staffing. Until formal notice was given, this plan remained secret. See id. (Dr. Cigarroa telling Mr.



15
   Dr. Santos testified he had independent reasons for leaving, as DHL was planning to bring on Dr. Mark Morales
and his group—itinerant heart surgeons employed by one of UHS’s other hospitals (the “Morales Group”). ECF No.
167-1 at 357. Dr. Santos believed that this method of treatment—rotating from city to city and not being available for
patients after the surgery—was problematic. Id. at 358–59. The Morales Group began performing surgeries at DHL
in October 2021, after Dr. Santos left. ECF No. 145-2 at 204. According to Dr. Santos, they were eventually fired after
a tenure that included a high mortality rate among patients. Id. at 181.


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Leal that he “will remain quiet” regarding the plan to hire DHL’s nurses). But as of August 16,

LMC knew that Dr. Santos was under a noncompete with DHL. ECF No. 192-3.

        Internal documents demonstrate this plan in action. On August 3, Dr. Cigarroa told Mr.

Leal that Dr. Santos would be going on vacation and “may never operate [at DHL] again,” ECF

No. 167-1 at 602, a preview for Dr. Santos’ eventual departure from DHL. On August 10, LMC

discussed recruiting DHL’s then-current Director of its Cath Lab and referred to it as a “strategy

play.” Id. at 612. LMC also discussed opening the open-heart program “by end of year” and that

“[b]ringing the heart team from DHL is a must.” ECF No. 192-3 at 3–4.

        On August 23, Dr. Santos signed a Letter of Intent with LMC. ECF No. 185-14 at 2–3.

When Ms. Montes-Ewing called a meeting with DHL managers to try to retain the nurses, Dr.

Cigarroa was informed and relayed the information to Mr. Leal, who responded “[j]ust wait till we

take [Dr. Santos] and the heart team.” ECF No. 185-6 at 3.

        Following Dr. Santos’ path were DHL’s nurses and technicians who worked alongside him.

In early September, Mr. Leal and Dr. Santos discussed nurses that LMC would recruit from DHL,

including a specific list with their contact information. ECF No. 167-1 at 635–36, 639. Dr. Santos

agreed that LMC “should reach out to” them. Id. at 620. During this time, Mr. Leal also texted Dr.

Cigarroa to tell him that he spoke with Dr. Santos and that LMC would be “going after” the

“surgical techs [then employed by DHL].” Id. at 655.

        On September 15, 2021, Dr. Santos informed Plaintiffs that he was terminating his

employment contract. 16 Id. at 659. During the next several months, Dr. Cigarroa II also participated

in LMC’s efforts to recruit from DHL, for example by responding to LMC Chief Operating

Officer’s question about “tak[ing]” the staff at the cardiac rehab at DHL to LMC with “lala . . .


16
   Due to his noncompete, Dr. Santos did not start at LMC in Fall 2021 and instead opened his own office until the
clause expired, after which he began performing surgeries at LMC. Id. at 347, 349.


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knows a lot.” Id. at 669. In total, four of Plaintiffs’ employees who worked with Dr. Santos left to

LMC. Id. at 346.

        But it was not only Defendants’ conduct that caused Dr. Santos and DHL’s employees to

leave. Dr. Mehmet testified that some were unhappy with the conditions and pay at DHL, and that

Ms. Montes-Ewing refused to give them a pay raise. Id. at 275. Dr. Santos likewise had

independent reasons to leave. See infra note 15. And like Dr. Cigarroa’s departure, internal DHL

communications reveal it had anticipated Dr. Santos’ departure prior to Dr. Santos handing in his

notice. DHL decided “it’s ok if he tries to go” because (i) Dr. Santos was not “very productive”

and (ii) DHL had already hired the Morales Group, who did not “think it [was] a good idea to have

Santos and his group overlap too long.” ECF No. 145-2 at 297, 299. DHL also noted that “it might

be beneficial strategically to not allow [Dr. Santos] to just go over to LMC” and that “it shouldn’t

be easy” for him to go. Id. at 297.

    G. Defendants’ Purpose Behind the Recruitment

        The evidence reveals that this “massive exodus,” in the words of Dr. Mehmet, ECF No.

167-1 at 273, was intended to strip DHL of its resources and establish Defendants’ dominance in

the market for interventional cardiology services in Laredo. Mr. Leal told Dr. Cigarroa that the

plan was to “take everything from [Plaintiffs].” Id. at 680. Dr. Cigarroa responded by stating DHL

“have nothing . . . no cath lab nurses no call team . . . stemi went on diversion . . . [that] they were

totally inept . . . [and] this digs them [further] into incompetence.” Id. Internal documents reference

competitive strategy undergirding the recruitment efforts: LMC’s wanted to “[b]eat out the

competition (DHL continues to be DHL).” ECF No. 192-3 at 3.




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       On August 31, after the Cigarroas had handed in their 90 days and Dr. Santos signed a

Letter of Intent with LMC, Mr. Leal circulated an internal document titled LMC “Cardiovascular

Business Strategy” that stated

       Competition: The shift in Cardiology focus from Doctors Hospital of Laredo to
       Laredo Medical Center is significant. Left without a Cardiothoracic Surgeon and a
       minority group of Cardiologists will be detrimental to our main competitor. If LMC
       is able to capitalize and build a quality-focused service line with positive outcomes,
       we will be in a position to lead the market in Cardiovascular for years to come.

ECF No. 185-15 at 7.

       This document states that LMC was positioned to grow a “significant share of

Cardiovascular services in the market,” in part based on the Cigarroa’s shift to LMC. Id. at 5; see

also id. at 11 (“Cigarroa family of Cardiologists encompasses majority of Cardiology market in

Laredo; LMC alignment with Cigarroa family is essential to current and future success.”). It noted

that with Dr. Santos, “LMC will lead the Laredo market of Cardiothoracic Surgery, leaving DHL

with a need to rebuild and/or recruit new Cardiothoracic Surgeon[s] with limitations in referral

base.” Id. It stated that “[t]he addition of new services and Cardiac procedures [would] allow for

a mitigation of outward migration to San Antonio,” as LMC could now begin to cover procedures

previously referred out of Laredo. Id. at 7. And it acknowledged that threats include “DHL new

physicians” along with “DHL Legal involvement (w/Physicians).” Id. at 8. LMC’s Director of

Human Resources, Danielle Flores, agreed that “physician recruitment by any other entity is

always something that is discussed as a threat,” as “volume can change.” ECF No. 167-1 at 618.

       LMC touted its successful recruitment efforts in converting “two cardiology market

splitters [the Cigarroas] into sole LMC loyalists, effective December of [2021].” ECF No. 185-17

at 2. “LMC loyalists” were “medical staff who either only practiced at LMC . . . or . . . that mostly

practiced” at LMC. ECF No. 167-1 at 619. Alongside investing in its own cardiology practice




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(both interventionalist and surgical), LMC five-year goal was to have 90% market share in

cardiology and 70% market share in vascular within five years, through “[c]ontinued partnership

with [the] Cigarroas” and “Dr. Santos[’] employment . . . + NP [Nurse Practitioners].” 17 ECF No.

187-2 at 9. To date, LMC has “invested in excess of $6 Million Dollars into its new Cath Lab and

associated equipment” to further these aims. ECF No. 145-2 at 439.

           Of course, DHL was also trying to increase its market share and decrease its outmigration

as well. Id. at 250 (noting goal was to “increase market share [for cardiovascular] to 60%” between

2021 to 2024, as well as a decrease in outmigration to San Antonio for complicated procedures).

       H. What Happened Post-Exodus

           Even after Dr. Cigarroa, Dr. Cigarroa II, Dr. Santos, and DHL’s nurses and technicians all

moved to LMC, DHL did not close shop. To replace Dr. Santos, DHL brought on the Morales

Group. ECF No. 167-1 at 323. DHL was also able to hire Dr. Mehmet. 18 But even with Dr.

Mehmet, DHL only had three interventional cardiologists: Dr. Carlos Cigarroa, Dr. Diaz, and Dr.

Mehmet, down from five. That said, until May 2022, DHL did not change its practices and was

able to cover its interventional cardiology services by relying on these three physicians. ECF No.

188-2 at 74; ECF No. 167-1 at 322. Plaintiffs also continued to recruit on a nationwide basis for

interventional cardiologists and hired Dr. Yunus Moosa in August 2023. ECF No. 167-1 at 736.

Two new interventional cardiologists is only one less than internal United Health Services’

documents state was the goal by 2025. ECF No. 145-2 at 244. Indeed, the total number of

interventional cardiologists in Laredo has increased since this case began. ECF No. 185-8 at 60.




17
     The two-year goal was 75% and 60% respectively. Id.
18
     Dr. Mehmet recently resigned due to animosity with Dr. Cigarroa. Id. at 260.


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        After May 2022, so as not to “burn out” Dr. Carlos Cigarroa and Dr. Diaz, ECF No. 167-1

at 322, Plaintiffs contracted with multiple cardiologists on a locum tenens basis. Several locum

tenens have provided both clinic coverage and nightly on-call coverage but at higher rates than

DHL was paying for non-locums interventional cardiologists for the coverage. The parties dispute

the nature of, and harm caused by the locum tenens use. Plaintiffs’ expert, Dr. Kevin Pflum (“Dr.

Pflum”), concluded that because of Dr. Feldman’s exclusion and the Cigarroas’ departure, DHL

was forced to rely on locums to provide clinic and STEMI call coverage. ECF No. 188-2 at 75. On

top of the additional costs, Dr. Pflum concluded that the use of locums caused “delays in [DHL’s]

development plans” and “may . . . ultimately result[] in lower quality patient experience,” such as

being “denied the ability to develop a physician-patient relationship with the interventional

cardiologist that treated them.” Id.; ECF No. 188-5 at 46.

        Defendants have a different picture: they contest the notion that locums had anything to do

with Dr. Feldman’s failed recruitment or the Cigarroas departure given that no locums were used

before May 2022—months after both events. ECF No. 169 at 22. They also assert that Plaintiffs

have put forth no evidence that locums actually provided lower-quality care or that any patient

was adversely affected. Id. at 35.

        The parties also use different data and dispute the correct measure to determine whether

interventional cardiology procedures have increased overall in Laredo. Relying on Dr. Pflum’s

own data, Defendants’ expert, Dr. Robert S. Maness (“Dr. Maness”), noted there were 2,869

interventional cardiology procedures performed in 2020, compared to 2,888 in 2012. ECF No.

185-8 at 59. 19 Plaintiffs dispute this for two reasons. First, they argue that these numbers include



19
  According to Dr. Maness, Defendants’ data likewise showed an increase in procedures as well from 2020 to 2022.
Id.



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procedures done at the Cigarroa Clinic, and that the proper comparison must be based on what

volume would have occurred with the Cigarroa Clinic “open but absent the alleged conduct.” ECF

No. 188-5 at 39. Second, they claim 2020 is not representative due to COVID and that the data

shows that “overall interventional cardiology procedure volume has declined since 2019,” noting

a more than fifty percent decrease in DHL’s procedure counts. Id. at 40–41.

 II.      Procedural History

          Plaintiffs filed their initial complaint in October 2021. ECF No. 1. In January 2022, they

filed the operative amended complaint. ECF No. 22. Plaintiffs assert Section 1 and Section 2 claims

under the Sherman Act, as well as Texas state law claims for tortious interference with contract

and prospective business relations. ECF No. 22.

          In April 2022, the Court dismissed Plaintiffs’ claims concerning Dr. Santos for tortious

interference with an existing contract against all Defendants but permitted the other claims to move

forward. 20 ECF No. 64. Defendants seek summary judgment on the remaining claims.

                                                     ANALYSIS

          The Court first analyzes Defendants’ evidentiary objections before turning to the merits of

their motion for summary judgment.

     I.   Defendants’ Objections to Plaintiffs’ Evidence and Motion to Strike Dr. Pflum’s
          Conclusions

          Defendants move to strike certain sworn testimony by Ms. Montes-Ewing, Dr. Feldman,

and Dr. Mehmet and portions of Dr. Pflum’s expert report on damages. ECF No. 171 at 4–10. The

Court addresses each in turn.


20
   Two years into this case, the Cigarroa Defendants sought leave to assert a counterclaim against Plaintiffs for
attempted monopolization, claiming that critical allegations in the Amended Complaint were intentional
misrepresentations and that Plaintiffs filed this suit as part of a broader effort to control the practice of cardiology in
Laredo. ECF No. 121. The Court permitted the counterclaim, ECF No. 130, but granted Plaintiffs’ motion to dismiss
in July 2024, ECF No. 162.


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   A. Applicable Law

       At summary judgment, “the evidence proffered by the plaintiff to satisfy his burden of

proof must be competent and admissible at trial.” Bellard v. Gautreaux, 675 F.3d 454, 460 (5th

Cir. 2012). A party asserting that a fact “is genuinely disputed must support the assertion by”

“citing to particular parts of materials in the record, including depositions, documents . . . [and]

affidavits or declarations.” FED. R. CIV. P. 56(c)(1)(A). “Although the substance or content of the

evidence submitted to support or dispute a fact on summary judgment must be admissible . . . the

material may be presented in a form that would not, in itself, be admissible at trial.” Lee v. Offshore

Logistical and Transp., LLC, 859 F.3d 353, 355 (5th Cir. 2017). “[T]he burden is on the proponent

to show that the material is admissible as presented to or to explain the admissible form that is

anticipated.” Lee, 859 F.3d at 355 (quoting Advisory Committee’s Note to 2010 Amendment)).

       “Hearsay is not competent summary judgment evidence unless its proponent can show that

the statement can be presented in admissible form at trial.” Miller v. Michaels Stores, Inc., 98 F.4th

211, 218 (5th Cir. 2024) (citations omitted). “Nor [are] statements made without personal

knowledge [] capable of being so presented.” D’Onofrio v. Vacation Publications, Inc., 888 F.3d

197, 208 (5th Cir. 2018); FED. R. EVID. 602. Federal Rule of Civil Procedure 56(c) requires an

“affidavit or declaration . . . to be made on personal knowledge,” and “a district court is entitled to

strike affidavits that do not comply with this rule,” Akin v. Q-L Investments, Inc., 959 F.2d 521,

530 (5th Cir. 1992).

   B. Analysis

       Hearsay is a statement, other than one made by the declarant while testifying at the trial or

hearing, offered in evidence to prove the truth of the matter asserted. FED. R. EVID. 801(c).

               Whether an out-of-court statement is hearsay depends on whether it
               is offered for its truth or merely for the fact that it was made. Where



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                    the alleged fact is only so if the substance of the statement is the
                    truth, the statement constitutes hearsay. On the other hand, where
                    the alleged fact may be so regardless of whether the statement is true
                    or false, the statement is not hearsay.

United States v. Webster, 549 F.2d 346, 359 (5th Cir. 1981) (internal citations omitted).

           Federal Rule of Evidence 801(d)(1)(B) provides that a statement is not hearsay if it “is

consistent with the declarant’s testimony and is offered” to “rebut an express or implied charge

that the declarant recently fabricated it.”

           Federal Rule of Evidence 803(3) provides an exception to the rule against hearsay for a

“statement of the declarant’s then-existing state of mind,” including “motive, intent, or plan” or

“emotional, sensory, or physical condition,” including “mental feeling.”

           Under Federal Rule of Evidence 805, “[h]earsay within hearsay” can only be admitted if

“each part of the combined statements conforms with an exception to the rule.”

           1. Ms. Montes-Ewing’s Testimony

           Defendants object to fourteen statements from Ms. Montes Ewing’s testimony as hearsay

that also lacks foundation under Federal Rule of Evidence 602. ECF No. 176-1 at 1–11. All consist

of out-of-court statements by Dr. Blanc, Dr. Feldman, Dr. Ralph Nimchan, 21 and other DHL

physicians. Plaintiffs respond that these physicians have personal knowledge and that the

statements are not hearsay under Federal Rule of Evidence 803(3), relying on the “motive” and

“state of mind” exceptions. ECF No. 172 at 3–5. Because the Court finds for Defendants even

considering eleven out of fourteen of these objections, it overrules these objections as moot. See

ECF No. 176-1 at 1–4, 6–9, 11 (Obj. Nos. 1–2, 4–5, 7–11, 13–14). 22



21
     Dr. Nimchan is a general cardiologist at DHL. ECF No. 145-2 at 12.
22
  Dr. Blanc’s statements would fall under Federal Rule of Evidence 803(3) as “motive.” Plaintiffs concede that Dr.
Blanc’s state of mind is relevant in explaining why he chose to not to move to Laredo. ECF No. 172 at 4. Accordingly,


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         The remaining three objections are sustained, as discussed below.

         Objection 3. Defendants object to the statement by Ms. Montes-Ewing that Dr. Lyons and

two other physicians “had heard it was difficult to enter a market in cardiology in Laredo” as

hearsay. ECF No. 176-1 at 2. Plaintiffs argue that it falls under the state of mind exception.

         This statement is hearsay that cannot be cured by the state-of-mind exception, as Ms.

Montes-Ewing is testifying about what others told these doctors. Plaintiffs have offered no

exception to this second layer of hearsay.

         Objection 6. Defendants object to Ms. Montes-Ewing statement that she had heard from

“different members of the medical staff and different people that [new interventional cardiologists]

was something that in the past [Dr. Cigarroa] had not supported” as hearsay. ECF No 176-1 at 5.

There are two layers of hearsay here: the medical staff’s statements to Ms. Montes-Ewing and Dr.

Cigarroa’s statement to the medical staff (assuming they did not hear it second-hand). Even

assuming Dr. Cigarroa made these statements as a party-opponent, Plaintiffs have not cured this

second layer of hearsay.

         Objection 12. Defendants object to Ms. Montes-Ewing’s statement that

         [Dr. Feldman] shared the phone call that he had received from Dr. Anderson. And
         he elaborated on the fact that Dr. Anderson had said to him that he couldn’t come
         to Laredo, otherwise Dr. Ricardo Cigarroa would pull the volume he was sending
         to UTSA and TAVRs and other things, and that he owned 90 percent of the market.
         That was said during that call.

ECF No. 176-1 at 10.

         There are multiple layers of hearsay here: Ms. Montes-Ewing testified about Dr. Feldman’s

statement, who retold Dr. Anderson’s statement of what Dr. Cigarroa said. Plaintiffs do not contest




the Court does not treat these statements as made for the truth-of-the-matter asserted. See ECF No. 176-1 at 1–4, 6, 9
(Obj. Nos. 1, 2, 4, 5, 7, 8, 11).


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this is hearsay but argue that it is admissible as a prior consistent statement under Rule

801(d)(1)(B). ECF No. 172 at 8–9.

         This exception is inapplicable here because Plaintiffs do not explain how this statement is

consistent with Dr. Feldman’s prior testimony. To the contrary, Dr. Feldman’s sworn testimony is

inconsistent with his prior testimony.

         Dr. Feldman testified that Dr. Anderson did not tell him that Dr. Cigarroa threatened to

stop referring patients to UTSA and instead send them to their competitor, nor did Dr. Anderson

tell him that Dr. Cigarroa claim to have a 90% market share in Laredo. ECF No. 145-2 at 126–

127. These two statements—that Dr. Anderson told Dr. Feldman that Dr. Cigarroa threatened to

pull volume and owned 90% of the market, and that he did not—are inconsistent, and so Rule

801(d)(1)(B) does not apply. 23 While Dr. Feldman testified that Dr. Anderson threatened to

withhold his lab, this is neither consistent nor inconsistent with his statement that Dr. Cigarroa

threatened Dr. Anderson. And although Plaintiffs claim that Dr. Feldman’s credibility will be a

“key disputed issue at trial,” credibility does not cure hearsay.

         2. Dr. Feldman’s Testimony

         Defendants object to two statements by Dr. Feldman in two exhibits and two statements in

Dr. Feldman’s deposition testimony. 24 ECF No. 176-1 at 14–16, 18 (Obj Nos. 20–22, 24). Because

the Court finds for Defendants even considering two of these statements, it overrules these

objections as moot. ECF No. 176-1 at 14, 18 (Obj. Nos. 20, 24).




23
   While Federal Rule of Evidence 801(d)(1)(A) provides that a prior inconsistent statement is not hearsay if it “was
given under penalty of perjury at a trial, hearing, or other proceeding or in a deposition,” this statement was not. It
was allegedly relayed to Ms. Montes-Ewing by Dr. Feldman in conversation.
24
   Defendants previously objected to seven statements, see ECF No. 176-1 at 12–16 (Obj. Nos. 15–22), but withdrew
five objections, id. (Obj. Nos. 15–19).


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        Deposition Testimony. Defendants object to two statements by Dr. Feldman which restate

what Dr. Henrich told him. ECF No. 176-1 at 15–16 (Obj. Nos. 21–22). In both, Dr. Feldman

testified that Dr. Henrich told him he knew Dr. Cigarroa and “hypothesized” that Dr. Cigarroa was

the cause of Dr. Anderson’s threat. ECF No. 167-1 at 517. Defendants seek to rely on these

statements for the fact that Dr. Cigarroa was the “cause of Dr. Anderson’s threat.” ECF No. 167

at 26. Defendants claim this is hearsay that lacks foundation. Plaintiffs argue that these meet the

co-conspirator exception and that foundation is established based on Dr. Henrich’s relationship

with Dr. Cigarroa. ECF No. 172 at 7–8.

        Assuming the co-conspirator exception under Federal Rule of Evidence 801(d)(2)(E) is

met, 25 Plaintiffs fall short of Federal Rule of Evidence 602’s requirement that Dr. Henrich have

personal knowledge to testify as to his belief.

        Under Rule 602, courts can “reasonably infer[]” personal knowledge and competence from

the declarant’s “positions and the nature of their participation in the matters to which they swore.”

DIRECTTV Inc. v. Budden, 420 F.3d 521, 530 (5th Cir. 2005) (citation omitted). Personal

knowledge “may include inferences and opinions so long as they are grounded in personal

observation and experience.” Garcia v. Delta Co., No. 3:20-CV-03194-X-BH, 2023 WL 2950632,

at *12 (N.D. Tex. Feb. 23, 2023). Even if Dr. Henrich made this statement, merely “know[ing] the

city” and Dr. Cigarroa, ECF No. 167-1 at 517, is insufficient to form this opinion under Rule 602.

Being friends with someone is far too broad to serve as a basis to speculate about such a specific

issue. Plaintiffs have not explained how this relationship rises to the level of “personal observation

and experience” from which Dr. Henrich could form a belief that Dr. Cigarroa was behind the

threat. Defendants’ objection is sustained.


25
  Plaintiffs assert a conspiracy among Dr. Henrich, Dr. Anderson, and Dr. Cigarroa to prevent Dr. Feldman from
coming to Laredo, given that they all communicated with each other about, and with, Dr. Feldman. ECF No. 172 at 8.


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         3. Dr. Mehmet’s Testimony

         Defendants object to four statements in Dr. Mehmet’s deposition testimony and one

statement in an exhibit. ECF No. 167-1 at 17–24 (Obj. Nos. 23, 25–28).

         Deposition Testimony. Defendants’ object to Dr. Mehmet’s statements that (i) recite what

Dr. Feldman told him about his discussions with Mr. Hernandez and Dr. Henrich, (ECF No. 176-

1 at 17, 19–21, Obj. No. 23, 25), (ii) characterize Dr. Cigarroa’s tactics as “bullying” and

“sabotage,” (ECF No. 176-1 at 22–23, Obj. No. 26), and (iii) ask Ms. Montes-Ewing “[w]ill I be

safe in town while [the Cigarroas] are clearly after us?” (ECF No. 176-1 at 23, Obj. No. 27). As to

the last one, Defendants only object to the word “us.” Id.

         For the statements that recite what Dr. Feldman told Dr. Mehmet, Plaintiffs rely on Federal

Rule of Evidence 801(d)(1)(B)’s prior consistent statement exception. ECF No. 172 at 8. This fails.

While the retelling is consistent with Dr. Feldman’s own testimony, there is no claim that Dr.

Feldman fabricated these meetings or the contents of them. Plaintiffs offer no other exception for

these statements; they are hearsay because they restate Dr. Feldman’s out-of-court statements to

Dr. Mehmet, and so Defendants’ objections are sustained.

         As to Dr. Mehmet’s characterization and question about his safety, Defendants’ objections

are overruled. Dr. Mehmet was involved in the recruitment process alongside Dr. Feldman and can

testify, under Federal Rule of Evidence 602, to his own perception surrounding the process.

         4. Ms. Montes-Ewing’s Declaration

         Defendants object to five statements in Ms. Montes-Ewing’s declaration. 26 ECF No. 176-

 1 at 25–23 (Ms. Montes-Ewing Declaration, ¶¶ 9–11, 19–20).




26
  Defendants previously objected to seven statements, see ECF No. 176-1 at 25–29 (¶¶ 9–11, 19–21, 23), but withdrew
two objections, id. (¶¶ 21, 23), to the extent they refer to Dr. Feldman’s plans under Federal Rule of Evidence 803(3).


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         Defendants’ objections to Paragraphs 9–11 in Ms. Montes-Ewing’s declaration, which

consist of statements by Ms. Montes-Ewing that restate what Dr. Blanc told her were his concerns

about coming to Laredo, are overruled as moot to the extent the statements refer to Dr. Blanc’s

statements about his state of mind. See Part I(B)(1).

         Defendants’ objections to Paragraphs 19–20 in Ms. Montes-Ewing’s declaration are

sustained. Paragraph 19 repeats what Dr. Feldman told Ms. Montes-Ewing about his conversation

with Dr. Anderson and his threat to lose his lab. While Dr. Feldman’s testimony about what Dr.

Anderson told him would be admissible as a co-conspirator statement, Dr. Feldman’s statement

to Ms. Montes-Ewing is “double hearsay.” Paragraph 20 repeats what Dr. Henrich told Dr.

Feldman about his hypothesis regarding Dr. Cigarroa. Not only is this hypothesis inadmissible,

see Part I(B)(2), but “double hearsay” applies for the same reason as Paragraph 19.

         5. Dr. Pflum’s Expert Report

         Defendants object to two conclusions in Dr. Pflum’s expert report under Federal Rule of

Evidence 702: (i) that Plaintiffs use of locums tenens “raises Plaintiffs’ costs,” and (ii) that

Defendants’ conduct is anticompetitive. ECF No. 171 at 6–10. Defendants’ objection to the

second conclusion is based on the argument that the increased costs analysis is flawed.

         The Court denies these objections as moot, given its finding that Defendants’ conduct did

not cause anticompetitive effects, even assuming Plaintiffs’ use of locums tenens increased its

costs.

 II.     Defendants’ Motion for Summary Judgment

    A. Legal Standard

         The Court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law. FED. R.




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CIV. P. 56. To establish that there is no genuine issue as to any material fact, the movant must

either submit evidence that negates the existence of some material element of the non–moving

party’s claim or defense, or, if the crucial issue is one for which the nonmoving party will bear the

burden of proof at trial, merely point out that the evidence in the record is insufficient to support

an essential element of the nonmovant’s claim or defense. Little v. Liquid Air Corp., 952 F.2d 841,

847 (5th Cir. 1992), on reh’g en banc, 37 F.3d 1069 (5th Cir. 1994) (citing Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986)). “Although Rule 56(e) does not allow a party to rest upon the mere

allegations or denials of his pleading when his adversary moves for summary judgment, the Rule

does not relieve the movant of his duty to establish the absence of a genuine issue as to material

facts. The moving party still has the initial burden, under Rule 56(c), of showing the absence of a

genuine issue concerning any material fact, and of showing that judgment is warranted as a matter

of law.” Boazman v. Econ. Lab’y, Inc., 537 F.2d 210, 213–14 (5th Cir. 1976) (citations and

quotation marks omitted).

       The purpose of summary judgment is to “pierce the pleadings and to assess the proof in

order to see whether there is a genuine need for trial.” Advisory Committee Note to 1963

Amendment of Fed. R. Civ. P. 56(e). Once the movant carries its initial burden, the burden shifts

to the nonmovant to show that summary judgment is inappropriate. See Fields v. City of S. Hous.,

922 F.2d 1183, 1187 (5th Cir. 1991). Any “[u]nsubstantiated assertions, improbable inferences,

and unsupported speculation are not sufficient to defeat a motion for summary judgment,” Brown

v. City of Houston, 337 F.3d 539, 541 (5th Cir. 2003), and neither will “only a scintilla of evidence”

meet the nonmovant’s burden. Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en

banc). Rather, the nonmovant must “set forth specific facts showing the existence of a ‘genuine’

issue concerning every essential component of its case.” Morris v. Covan World Wide Moving,




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Inc., 144 F.3d 377, 380 (5th Cir. 1998). The Court will not assume “in the absence of any proof .

. . that the nonmoving party could or would prove the necessary facts” and will grant summary

judgment “in any case where critical evidence is so weak or tenuous on an essential fact that it

could not support a judgment in favor of the nonmovant.” Little, 37 F.3d at 1075.

       For a court to conclude that there are no genuine issues of material fact, the court must be

satisfied that no reasonable trier of fact could have found for the nonmovant, or, in other words,

that the evidence favoring the nonmovant is insufficient to enable a reasonable jury to return a

verdict for the nonmovant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In

making this determination, the court should review all the evidence in the record, giving credence

to the evidence favoring the nonmovant as well as the “evidence supporting the moving party that

is uncontradicted and unimpeached, at least to the extent that evidence comes from disinterested

witnesses.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 151 (2000). The Court “may

not make credibility determinations or weigh the evidence” in ruling on a motion for summary

judgment, id. at 150, and must review all facts in the light most favorable to the nonmoving party.

First Colony Life Ins. Co. v. Sanford, 555 F.3d 177, 181 (5th Cir. 2009).

   B. Standing

       Section 4 of the Clayton Act provides that “any person who shall be injured in his business

or property by reason of anything forbidden in the antitrust laws may sue therefor in any district

court of the United States.” 15 U.S.C. § 15(a). “The Supreme Court has read this language to

impose on antitrust plaintiffs threshold requirements that go beyond Article III standing.” Pulse

Network, L.L.C. v. Visa, Inc., 30 F.4th 480, 488 (5th Cir. 2022).

       The Fifth Circuit has “distill[ed] those requirements to three elements: ‘1) injury-in-fact,

an injury to the plaintiff proximately caused by the defendants’ conduct; 2) antitrust injury; and 3)




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proper plaintiff status, which assures that other parties are not better situated to bring suit.’” Id.

(quoting Doctor’s Hosp. of Jefferson, Inc. v. Se. Med. All., Inc., 123 F.3d 301, 305 (5th Cir. 1997)).

         As for proper plaintiff status, the Fifth Circuit examines factors such as “(1) whether the

plaintiff’s injuries or their causal link to the defendant are speculative, (2) whether other parties

have been more directly harmed, and (3) whether allowing this plaintiff to sue would risk multiple

lawsuits, duplicative recoveries, or complex damage apportionment.” Norris v. Hearst Tr., 500

F.3d 454, 465 (5th Cir. 2007) (citation omitted).

         Injury-in-fact. Plaintiffs contend that Defendants’ conduct caused DHL to lose the

services of Dr. Cigarroa, Dr. Cigarroa II, and Dr. Santos and his team, and this caused DHL to

seek medical services from locum tenens at a higher cost. 27 This is classic economic injury that

establishes an injury-in-fact. See Pulse, 30 F.4th at 489 n. 9.

         Proper Plaintiffs. DHL and LPG are proper plaintiffs. A reasonable jury could find a

causal link between this injury-in-fact and Defendants’ conduct, Plaintiffs’ harm is distinct, and

there is no risk of multiple lawsuits or duplicative recovery as no other party (such as a patient,

insurer, or physician) could recover for Plaintiffs’ injury.

         Antitrust Injury. The crux of the dispute is whether Plaintiffs have suffered antitrust

injury. Antitrust injury is “injury of the type the antitrust laws were intended to prevent and that

flows from that which makes defendants’ acts unlawful.” Brunswick Corp. v. Pueblo Bowl-O-Mat,

Inc., 429 U.S. 477, 489 (1977). “The injury should reflect the anticompetitive effect either of the

violation or of anticompetitive acts made possible by the violation.” Id. In other words, the injury

should be “the type of loss that the claimed violations . . . would be likely to cause.” Zenith Radio



27
  Defendants dispute the extent of the injury given alternative resources, but this is still economic injury. Even if
Plaintiffs found “an alternative source [of physicians], [they] may still be injured if [they] would have been better off
without the [anticompetitive conduct].” Malcolm v. Marathon Oil Co., 642 F.2d 845, 863 (5th Cir. Unit B 1981).


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Corp. v. Hazeltine Rsch., 395 U.S. 100, 125 (1969). “Antitrust injury fleshes out the basic idea that

the antitrust laws were enacted for the protection of competition, not competitors.” Pulse, 30 F.4th

at 488 (internal quotation marks and citation omitted). Whether there is an antitrust injury turns on

whether there was a “competition-reducing aspect or effect” of Defendants’ conduct. Atl. Richfield

Co. v. USA Petroleum Co., 495 U.S. 324, 344 (1990).

       “Though the ‘threat of decreased competition’ is not enough to establish antitrust injury,

‘competitors may be able to prove antitrust injury before they are actually driven from the market

and competition is thereby lessened.’” Tesla v. Louisiana Auto. Dealers Ass’n, 113 F.4th 511, 528

(5th Cir. 2024) (citations omitted). Since antitrust injury is “viewed from the perspective of the

plaintiff’s position in the marketplace, not from the merits-related perspective of the impact of a

defendant’s conduct on overall competition,” “losses and competitive disadvantage . . . fall[s]

easily within the conceptual bounds of antitrust injury.” Doctor’s Hosp., 123 F.3d at 305; see also

Pulse, 30 F.4th at 491 (being “squeezed out of the market” because of anticompetitive conduct is

“textbook antitrust injury”).

       If there is no antitrust violation, there is no antitrust injury. That is the case here. Yet the

Fifth Circuit directs that where a party fails to create a material issue of fact on an antitrust

violation, courts should grant summary judgment on the merits, not on standing. See Doctor’s

Hosp., 123 F.3d at 306. Accordingly, the Court proceeds to the merits of Plaintiffs’ claims under

the Sherman Act, beginning, as always, by defining the relevant market. Shah v. VHS San Antonio

Partners, LLC, 985 F.3d 450, 454 (5th Cir. 2021) (“Without a definition of a relevant market there

is no way to measure a defendant’s ability to lessen or destroy competition.”) (citation omitted).




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     C. Market Definition 28

        The relevant market for an antitrust claim “is the pool a court must assess to determine the

ripple effect of any purported antitrust conduct on competition.” Shah v. VHS San Antonio

Partners LLC, 18-CV-751-XR, 2020 WL 1854969, at *5 (W.D. Tex. Apr. 9, 2020), aff’d sub nom.

Shah, 985 F.3d at 450. It “is composed of products that have reasonable interchangeability for the

purposes for which they are produced—price, use and qualities considered.” United States v. E. I.

du Pont de Nemours & Co., 351 U.S. 377, 404 (1956).

        The relevant market “has two components: a product market and a geographic market.”

Shah, 2020 WL 1854969. “Both must be defined not just in terms of where the purportedly

excluded competitor operators, but where consumers are affected by anticompetitive conduct and

whether they may turn for alternatives.” Id. “The geographic market must correspond to the

commercial realities of the industry and be economically significant.” Apani Sw., Inc. v. Coca-

Cola Enters., Inc., 300 F.3d 620, 626 (5th Cir. 2002) (internal quotation marks and citations

omitted).

        The Court finds that interventional cardiology services in Laredo is a relevant market in

which to evaluate the effects of Defendants’ conduct. Plaintiffs’ expert, Dr. Pflum, concluded that

there are no reasonably interchangeable substitutes for interventional cardiology services and

providers outside of Laredo are too distant for patients to practicably go to receive those services.

ECF No. 188-2 at 6, 34–37. Dr. Pflum first explained that interventional cardiology services

requires certain inputs: interventional cardiologists and Cath Labs, along with other physicians,

nurses, staff, and equipment used to care for patients. Id. at 41. These “upstream” inputs combine



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  For the purpose of this motion, the relevant market is undisputed. See ECF Nos. 145 at 44 (the relevant market “is
interventional cardiology services provided to patients”); 167 at 33 (the relevant market is “interventional
cardiological services”); 181 at 3.


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to form the “downstream” interventional cardiology service, which is provided to patients and paid

for by insurers. Id. In combining these inputs, Dr. Pflum applied a “cluster” approach 29 and

concluded that “it is economically appropriate and expedient to analyze such services together,

giving patients and insurers the ability to turn to a similar set of providers for each service.” Id. at

42.

         Dr. Pflum stated that his conclusions would not change even if he considered the

submarkets of inpatient and outpatient cardiology treatment separately; separating inpatient and

outpatient care is immaterial as the relevant shares in these submarkets are proportional to each

other and both “face independent but similar demand conditions.” Id. at 33–34. Thus, is this set of

services—interventional cardiology services—that represents the distinct economic product

market.

         Dr. Pflum also concluded that Laredo is the relevant geographic market. ECF No. 188-2 at

6. DHL and LMC are the only two hospitals physically located in the area and, alongside the

Cigarroa Clinic (and Cigarroa Interventional Institute), are the only providers of interventional

cardiology services in the area. Id. at 45. Dr. Pflum noted that insurance plans are required by

regulation to include in-network interventional cardiology services in Laredo, Laredo residents

“strongly prefer local Laredo interventional cardiology services,” and patients and their insurers

“do not view interventional cardiology services provided outside of Laredo as substitutable with

local Laredo providers.” Id. at 45–50.




29
   A “cluster approach is appropriate where the product package is significantly different from, and appeals to buyers
on a different basis from, the individual products considered separately.” JBL Enterprises, Inc. v. Jhirmack
Enterprises, Inc., 698 F.2d 1011, 1016 (9th Cir. 1983); see also United States v. Phillipsburg Nat. Bank & Tr. Co.,
399 U.S. 350 (1970) (cluster market appropriate where firm offers wide range of services and is the only type of firm
to gather all of them in one place).


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        Using a two-stage bargaining approach to market definition (provider competition for

insurer inclusion as well as competition to attract patients), Dr. Pflum applied the “hypothetical

monopolist test” and concluded that a hypothetical monopolist of interventional cardiology

services could profitably impose a small but significant and non-transitory increase in price on

insurers. Id. at 44.

    D. Section 1 Claim

        1. Applicable Law

         Under Section 1 of the Sherman Act, “[e]very contract, combination in the form of trust

or otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with

foreign nations, is declared to be illegal.” 15 U.S.C. § 1. “Although § 1 could be read to outlaw all

contracts, it has long been interpreted to only proscribe unreasonable restraints.” Golden Bridge

Tech., Inc. v. Motorola, Inc., 547 F.3d 266, 271 (5th Cir. 2008). To establish a violation of § 1 of

the Sherman Act, plaintiffs “must demonstrate that: ‘(1) [the defendants] engaged in a conspiracy,

(2) the conspiracy had the effect of restraining trade, and (3) trade was restrained in the relevant

market.’” Marucci Sports, LLC v. National Collegiate Athletic Ass’n, 751 F.3d 368, 373 (5th Cir.

2014) (quoting Apani, 300 F.3d at 627).

        A “necessary ingredient” of a section 1 claim is a showing of concerted action. Tunica Web

Advert v. Tunica Casino Operators Ass’n, 496 F.3d 403, 409 (5th Cir. 2007). To establish

concerted action, plaintiffs “must present ‘evidence that reasonably tends to prove that the

[defendants] had a conscious commitment to a common scheme designed to achieve an unlawful

objective.’” Id. (quoting Monsanto Co. v. Spray-Rite Sev. Corp., 465 U.S. 752, 768 (1984)). “In

other words, ‘[t]here must be evidence that tends to exclude the possibility of independent action.’”

Id. (quoting Monsanto, 465 U.S. at 768).




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         “Concerted action may be shown by either direct or circumstantial evidence.” Id. at 409.

“Direct evidence of concerted action is that which explicitly refers to an understanding between

the alleged conspirators, while circumstantial evidence requires additional inferences in order to

support a claim of conspiracy.” Id. (cleaned up). “Circumstantial evidence of a conspiracy in

restraint of trade must be strong in order to survive summary judgment, because ‘antitrust law

limits the range of permissible inferences from ambiguous evidence in a § 1 case.’” Id. (quoting

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 588 (1986)).

         “[C]onduct as consistent with permissible competition as with illegal conspiracy does not,

standing alone, support an inference of antitrust conspiracy.” Id. (quoting Matsushita, 475 U.S. at

588). “[A] plaintiff can survive summary judgment only if it ‘show[s] that the inference of

conspiracy is reasonable in light of the competing inferences of independent conduct or collusive

action that could not have harmed’ the plaintiff.’” 30 Id. (quoting Matsushita, 475 U.S. at 588).

         “Only after an agreement is established will a court consider whether the agreement

constituted an unreasonable restraint of trade.” AD/SAT, Div. of Skylight, Inc. v. Associated Press,

181 F.3d 216, 232 (2d Cir. 1999). “Once a plaintiff establishes that a conspiracy occurred, whether

it violates § 1 is determined by the application of either the per se rule or the rule of reason.”

Golden Bridge Tech., 547 F.3d at 271. “If the requisite factors for a per se refusal to deal violation

are not met, the proper course is to examine the conduct under the rule of reason.” St. Bernard

Gen. Hosp., Inc. v. Hosp. Serv. Ass’n of New Orleans, Inc., 712 F.2d 978, 988 (5th Cir. 1983)

(citation omitted).




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   Plaintiffs argue summary judgment “is especially disfavored in ‘complex, fact-sensitive antitrust cases.’” ECF No.
167 at 24 (citing C.E. Servs., Inc. v. Control Data Corp., 759 F.2d 1241, 1245 (5th Cir. 1985)). Not only was Control
Data decided before the Supreme Court’s clarification of the summary judgment threshold in Celotex and Matsushita,
but it noted that “the requirements of Rule 56 are no less applicable in antitrust actions.” Id. Accordingly, the Court
applies the prevailing Rule 56 standard.


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       2. Analysis

       Plaintiffs allege a conspiracy “to try to shut down Plaintiffs’ interventional cardiology

program among Defendants and their co-conspirators,” with the aim of restraining DHL’s ability

to compete in Laredo’s market for interventional cardiology services. ECF Nos. 167 at 36; 22

¶ 156 (“Defendants have conspired to prevent Plaintiffs from providing acute cardiological

services in Laredo”). In support, they point to: (i) an agreement between Defendants and Dr.

Cigarroa II to not deal with DHL, (ii) an agreement between Dr. Cigarroa, LMC, and Dr. Santos

to solicit Dr. Santos’s staff in violation of Dr. Santos’s noncompete and non-solicitation

agreement, (iii) concerted action among Dr. Cigarroa and Dr. Anderson for Dr. Anderson to

threaten and cause Dr. Feldman to not practice in Laredo, and (iv) circumstantial evidence of

concerted action among Dr. Cigarroa and other cardiologists to coerce Dr. Blanc to not practice in

Laredo. ECF No. 167 at 36–37.

       The Court takes each in turn, first considering whether there is concerted action before

turning to whether a per se or rule of approach is appropriate.

               a) Is There a Conspiracy?

                     i.   Cigarroa-LMC Refusal to Deal with DHL

       The Court agrees that Defendants’ explicit statements constitute direct evidence a

concerted refusal to deal with DHL. Many text messages and emails between the Cigarroas and

LMC—over the course of multiple months beginning in March 2021—discuss the Cigarroas plan

to cease practicing at DHL and move their practice to LMC. These begin with discussions between

Dr. Cigarroa and Mr. Leal that discussed “Cigarroa Heart” “commit[ting] our services to Laredo

Medical Center” in order “to take full advantage and secure Webb County marketshare at LMC.”

ECF No. 185-1 at 2. The messages continue to more explicit acknowledgements by LMC that “the




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Cigarroa family would drop privileges at DHL and just practice exclusively at LMC.” ECF No.

182-12 at 7. And further reveal an intent to “take everything from [Plaintiffs]” leave them “totally

inept.” ECF No. 167-1 at 680.

       While Defendants argue that it was DHL all along who caused the shift due to their

inadequate facilities and investment in new programs, this does not negate Defendants’ own

actions. Dr. Cigarroa and Mr. Leal’s sworn declarations that deny any unlawful conspiracy does

not affect whether there is an agreement to not deal with LMC. ECF No. 145-2 at 348–440, 449–

454.

                     ii.   Poaching of Dr. Santos and His Support Staff

       The Court likewise agrees that there is direct evidence of an agreement to solicit Dr. Santos

in violation of his noncompete and his staff from DHL to LMC. Plaintiffs point to text messages,

emails, and internal LMC documents that reveal a coordinated effort to recruit them while still

employed at DHL. Defendants do not seriously contest this. They only argue that the evidence

suggests that DHL had already secretly decided to let Dr. Santos go by November 2021. ECF No.

145 at 34. And they point to other employees who were dissatisfied at DHL as well. But like the

Cigarroa-LMC refusal to deal, what Plaintiffs were planning to do with Dr. Santos, or what other

employee sentiments were at the time, does not negate Defendants’ own actions.

                    iii.   Dr. Feldman Exclusion

       Plaintiffs claim there is evidence of concerted action between Dr. Cigarroa and Dr.

Anderson that caused Dr. Feldman to not practice in Laredo. They assert it permits an inference

that Dr. Cigarroa threatened Dr. Anderson to pull referrals to UTHSCSA, which caused Dr.




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Anderson to threaten Dr. Feldman with his lab and, in turn, led to Dr. Feldman’s rejection of

DHL’s offer. 31

         It is disputed whether Dr. Anderson threatened Dr. Feldman to pull his lab: Dr. Feldman

testified he did, Dr. Anderson testified he did not. While this creates a fact issue, the material issue

turns on whether a reasonable jury could find that Dr. Cigarroa and Dr. Anderson conspired to

prevent Dr. Feldman from coming to Laredo, rather than Dr. Anderson acting independently when

he threatened Dr. Feldman.

         Plaintiffs first argue there is direct evidence of a conspiracy, as “[e]vidence of threats to

refuse to deal, combined with accession to the threats, ‘can show concerted action that is not

independent conduct.’” ECF No. 167 at 40 (citing MM Steel v. JSW Steel (USA) Inc., 806 F.3d 835

(5th Cir. 2015) and Monsanto, 465 U.S. at 767–68)). True, but in both cases, there was evidence

of “actual threats in the form of ultimatums.” MM Steel, 806 F.3d at 845; Monsanto, 465 U.S. at

768. Here, there is no admissible evidence of any “actual threat” from Dr. Cigarroa to Dr.

Anderson. Plaintiffs are left with circumstantial evidence.

         In MM Steel, the Fifth Circuit held that a reasonable jury could conclude that the

independent decision to not deal was pretextual, given that there was evidence of threats from

distributors. 806 F.3d at 845. The evidence of threats or “other traditional conspiracy evidence” is



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   Defendants launch two procedural challenges to this conspiracy. First, they argue this claim fails because no
evidence in the record establishes that Defendants conspired to exclude Dr. Feldman—only that Dr. Cigarroa allegedly
did. ECF Nol. 169 at 14. But Plaintiffs are not required to show that Defendants “knew of or participated in every
transaction in furtherance of or related to the alleged conspiracy.” In re Magnesium Oxide Antitrust Litig., No. 10-
CV-5954-DRD, 2011 WL 5008090, at *17 (D.N.J. Oct. 20, 2011) (citing cases). Second, they argue Plaintiffs have
impermissibly amended their complaint to add this new claim. But Plaintiffs set forth the same allegations about Dr.
Feldman’s exclusion in its amended complaint, ECF No. 22 ¶¶ 88–96, and an identified co-conspirator need not be a
named defendant to support a conspiracy claim against named parties. Unlike Wesley Health Sys., LLC v. Forrest Cty.
Bd. of Sup’rs, No. 12-CV-59-KS-MTP, 2014 WL 232109, at *11 (S.D. Miss. Jan. 22, 2014), which Defendants rely
on, there is no prejudice or surprise here given Plaintiffs’ allegations. Even if this were a new claim, “[a] response to
a motion for summary judgment raising a new claim may be treated as a motion to amend the complaint.” La Union
de Pueblo Entro v. Federal Emergency Mgmt. Agency, 141 F. Supp. 3d 681, 701 (S.D. Tex. 2015) (citing FED. R. CIV.
P. 15(a)(2), 16(b)(4)).


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key, as “pretext alone does not create a reasonable inference of a conspiracy.” In re Chocolate

Confectionary Antitrust Litig., 801 F.3d 383, 411 (3d Cir. 2015) (citing cases). Plaintiffs have

identified sufficient evidence that “the inference of conspiracy is reasonable in light of the

competing inferences of independent conduct.” Tunica, 496 F.3d at 409.

        They rely on the phone call between Dr. Cigarroa and Dr. Anderson on July 22, 2021,

during Dr. Feldman’s recruitment process. 32 It is undisputed that on this call, Dr. Cigarroa opposed

Dr. Feldman’s transfer to Laredo and “asked Dr. Anderson to share this concern with Dr.

Feldman.” ECF No. 167-1 at 719. They also point to (i) Dr. Cigarroa’s prior public statements at

a DHL meeting in which he opposed Dr. Feldman coming to Laredo, (ii) the lack of opposition by

Dr. Anderson to Dr. Feldman providing part-time interventional cardiology services in other cities,

(iii) Dr. Feldman’s offer to Dr. Henrich that he could “shift” more cases to UTHSCSA (and so his

arrival in Laredo would be profitable for UTHSCSA), and (iv) and Dr. Cigarroa II’s continued

stream of referrals to UTHSCSA after Feldman declined DHL’s offer. ECF No. 182 at 6–9.

        Together with Dr. Anderson’s threat to Dr. Feldman, this is traditional conspiracy evidence

that creates a disputed issue of fact as to whether Dr. Cigarroa conspired with Dr. Anderson by

threatening to pull referrals unless Dr. Feldman was prevented from coming to Laredo.

        Defendants first argue that Dr. Cigarroa’s public statements are “expression[s] of opinion

about a competitors’ plans [that] cannot provide the basis for an antitrust claim,” Arnett Physician

Group, P.C. v. Greater LaFayette Health Servs. Inc., 382 F. Supp. 2d 1092, 1096 (N.D. Ill. 2005).

The Fifth Circuit has not adopted this broad statement, the Court does not eliminate circumstantial




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  Plaintiffs also point to text messages between the two that were deleted. ECF No. 167 at 23. Dr. Anderson and Dr.
Cigarroa both testified that they routinely delete their text messages. ECF No. 192-1 at 14 (Dr. Anderson); ECF No.
167-1 at 187 (Dr. Cigarroa). Plaintiffs did not move for spoliation sanctions and the Court declines to adopt any
adverse inference from this fact alone.


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evidence piecemeal, and so treats this as evidence that Dr. Cigarroa opposed Dr. Feldman coming

to Laredo.

       The next piece of evidence—UTHSCSA’s sudden opposition to Dr. Feldman’s part-time

work—supports an inference of a conspiracy. “For a change in conduct to create an inference of

conspiracy, the shift in behavior must be a ‘radical’ or ‘abrupt’ change from the industry’s business

practices.” Chocolate, 801 F.3d at 409–10 (quoting Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 935

(7th Cir. 2000)). Before attempting to practice in Laredo, Dr. Feldman practiced in a similar

capacity in McAllen without opposition. ECF No. 167-1 at 513. And he was permitted to practice

in Kerrville—following his withdrawal from Laredo—without opposition as well. The only time

he faced opposition was when he attempted to practice in Laredo, immediately following the

conversation between Dr. Cigarroa and Dr. Anderson. Because the record does not support any

historic behavior of opposing part-time work of its employees, including Dr. Feldman, a

reasonable jury could find this change in practice supports a conspiracy. In a similar vein, that Dr.

Cigarroa continued referring patients to UTHSCSA after Dr. Feldman withdrew from

consideration could support an inference that this practice remained unchanged due to the

successful threat.

       Dr. Feldman’s offer to shift referrals to UTHSCSA from DHL also supports an inference

of a conspiracy. As Plaintiffs argue, when a conspirator “reject[s] offers that would be

economically superior absent the conspiracy,” this strengthens the inference of conspiracy. ECF

No. 182 at 6 (citing Milgram v. Loew’s, Inc., 192 F.2d 579, 583 (3d Cir. 1951)). Dr. Feldman

emailed Dr. Henrich and Mr. Hernandez with a proposition to “shift” patients by referrals to

UTHSCSA once at DHL. A reasonable jury could conclude that absent the threat from Dr.

Cigarroa, Dr. Anderson and UTHSCSA would have preferred to get referrals from DHL and LMC,




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an economically superior relationship; more referrals equals more revenue. Defendants do not

contest this but argue that there is no evidence this offer was made to UTHSCSA. ECF No. 183 at

5. But Dr. Feldman testified he sent this proposal to Mr. Hernandez—the then-CEO of UTHSCSA.

Although the record is silent on whether the specifics were shared with Dr. Anderson, Mr.

Hernandez discussed receiving cardiology patients from DHL with Dr. Anderson after Dr.

Feldman shared this with Mr. Hernandez, ECF No. 167-1 at 584, and the Court views the evidence

in the light most favorable to Plaintiffs at this stage.

        Plaintiffs finally assert pretext. The Court agrees there is some evidence that Dr. Cigarroa’s

explanation for opposing Dr. Feldman was pretextual.

        Plaintiffs argue that a week after the July 22, 2021 phone call, Dr. Cigarroa texted his

nephew, Dr. Joaquin Cigarroa, that Dr. Feldman (and Dr. Mehmet’s) “presence as hospital

cardiologists is controversial” and to “not give [Dr. Feldman] an opening to discuss.” ECF No.

167-1 at 547. According to Plaintiffs, this was after Ms. Montes-Ewing stated there would be no

structural cardiology program started, Dr. Cigarroa could no longer have been concerned, and so

instead opposed Dr. Feldman all along for anticompetitive reasons. Dr. Cigarroa did admit that

Ms. Montes-Ewing alleviated his concerns after the meeting. But internally, Ms. Montes-Ewing

acknowledged DHL would start the program the next year, or perhaps sooner. It is true that Dr.

Cigarroa could just as well have not believed Ms. Montes-Ewing and continued with his

independent conduct of opposing Dr. Feldman. But Dr. Cigarroa’s message did not reference his

concerns with structural cardiology at all, and his instruction to not allow Dr. Feldman an “opening

to discuss” suggests that Dr. Cigarroa was not concerned with alleviating this specific concern but

opposed to Dr. Feldman coming to Laredo to practice at all.




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       While this supports pretext, the remaining evidence does not. Plaintiffs claim Dr. Cigarroa

II explained that he was not “doing too much at DHL” because of “some politics.” ECF No. 167-

1 at 217. But this message does not mention Dr. Feldman at all and was sent to a different doctor

on October 20, 2021, nearly three months after the alleged threat and during the same time as the

Cigarroa-DHL shift was in full swing. It is too vague to infer Dr. Cigarroa’s pretextual explanation

for opposing Dr. Feldman’s arrival in Laredo. Plaintiffs also argue that Dr. Cigarroa’s lack of

concern with his son’s qualifications, as compared to Dr. Feldman’s, demonstrates pretext. At best,

this demonstrates nepotism. Moreover, Dr. Cigarroa II was trained in structural cardiology. ECF

No. 169 at 13 n. 4. Nor is there evidence in the record to suggest that Dr. Cigarroa II was planning

to start a structural cardiology program anytime soon. To the contrary—Dr. Cigarroa testified

Defendants had a five-year plan. ECF No. 145-2 at 90.

       Taken together, a reasonable jury could conclude that Dr. Cigarroa conspired with Dr.

Anderson to prevent Dr. Feldman from coming to Laredo by threatening to withhold referrals from

UTHSCSA, rather than each acting independently.

       Defendants claim that this is insufficient to establish a conspiracy because Dr. Anderson

had an “independent self-interest to protect th[e] stream of patients [from Dr. Cigarroa to

UTHSCSA] unilaterally,” which would dry up if Dr. Feldman started a structural program at DHL.

ECF No. 169 at 16. According to Defendants, because Plaintiffs did not introduce evidence that

“tends to exclude” this theory of independent action, they cannot survive summary judgment. This

is unconvincing.

       First, this independent reason does not appear in the record. Dr. Anderson denied making

this threat, and the Court does not credit this independent motive, created by counsel, considering

Dr. Anderson’s denial. Defendants’ reliance on MM Steel misses the mark, as there the party did




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not deny the refusal to deal and so the record supported the independent reason. 806 F.3d at 846.

Plaintiffs need not introduce evidence that “tends to exclude” an independent reason that was not

offered by Dr. Anderson himself. Without this independent reason, the Court is hard-pressed to

see why Dr. Anderson would make such a threat without pressure from Dr. Cigarroa.

       Second, Plaintiffs need not “exclude” or “dispel” the possibility of independent conduct

under the “tends to exclude” theory. See In re Publ’n Paper Antitrust Litig., 690 F.3d 51, 63 (2d

Cir. 2012). “[I]f a plaintiff relies on ambiguous evidence to prove its claim, the existence of a

conspiracy must be a reasonable inference that the jury could draw from that evidence; it need not

be the sole inference;” i.e., a “reasonable factfinder [may] infer that the conspiratorial explanation

is more likely than not.” Id.; see also Eastman Kodak Co. v. Image Tech. Services, Inc., 504 U.S.

451, 568 (1992) (the “tends to exclude” standard “demands only that the nonmoving party’s

inferences be reasonable in order to reach the jury”). A reasonable jury could infer, based the

abrupt shift in practice in threatening Dr. Feldman, rejecting an economically superior proposal,

and Dr. Cigarroa’s pretextual explanation, that it is more likely than not that Dr. Cigarroa and Dr.

Anderson conspired to exclude Dr. Feldman from Laredo.

       Third, the “tends to exclude” standard is justified, in part, due to the need to limit the range

of permissible inferences from ambiguous evidence to prevent “procompetitive conduct” from

being “deter[red].” Matsushita, 475 U.S. at 593; see also In re Flat Glass Antitrust Litig., 385 F.3d

350, 357 (3d Cir. 2004) (identifying this as one of “two important circumstances underlying the

[Supreme] Court’s decision in Matsushita”). Defendants have not pointed to any procompetitive

justifications for Dr. Anderson’s threat to Dr. Feldman.




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                     iv.    Dr. Blanc Exclusion

         On the other hand, the Court finds no reasonable jury could find concerted action to exclude

Dr. Blanc. It is undisputed that Dr. Blanc did not accept his offer from DHL. And the evidence

shows that Dr. Blanc made comments over the course of his recruitment that touched on

Defendants’ position in the market as a reason behind his hesitation to come to Laredo. Relying

on this, Plaintiffs claim that the real reason Dr. Blanc rejected the offer was because Dr. Cigarroa

blacklisted him.

         No reasonable jury could conclude this. It is true that Dr. Cigarroa was upset with DHL’s

decision to recruit Dr. Blanc and opposed these plans, as voiced through his text messages to Ms.

Montes-Ewing the day before Dr. Blanc arrived in Laredo. But nepotistic desire does not establish

a conspiracy and, voicing private disagreement is not blacklisting absent evidence of conduct to

do so.

         Plaintiffs admit that Dr. Cigarroa never met or spoke with Dr. Blanc. Nor have Plaintiffs

offered any evidence that Dr. Cigarroa threatened to block referrals to Dr. Blanc. Instead, Plaintiffs

put forth evidence of Dr. Blanc’s own perception of the lack of a competitive environment in

Laredo. But much like private disagreement does not amount to blacklisting, one’s perception of

being blacklisted does not suffice either. At best, a reasonable jury could conclude that Dr. Blanc,

aware of Defendants’ position in Laredo, did not want to enter the market. This does not show

Defendants conspired to exclude him.

         Plaintiffs also seek to rely on the general allegation that Dr. Cigarroa had “influence” and

an “ability to intimidate other physicians,” ECF No. 167 at 18, referencing a statement by the chief

of DHL’s medical executive committee that he once left the room because he was “fearful” of

“having a [particular] discussion” with Dr. Cigarroa. ECF No. 167-1 at 294. This generic




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statement, untethered to any discussion of Dr. Blanc, would not allow a reasonable jury to find a

conspiracy between Defendants to exclude Dr. Blanc. While circumstantial evidence may support

an antitrust claim, mere conjecture cannot.

               b) Per Se or Rule of Reason

       Having found there is competent summary judgment evidence that Defendants engaged in

concerted action to exclude Dr. Feldman, refused to deal with LMC, and poached Dr. Santos and

DHL’s employees, the Court now turns to whether the per se or rule of reason approach is proper.

Plaintiffs argue that Defendants’ refusal to deal alone is a per se unlawful group boycott. The Court

disagrees.

                     i.    Applicable Law

       Under Section 1, “certain kinds of agreements will so often prove so harmful to competition

and so rarely prove justified that the antitrust laws do not require proof that an agreement of that

kind is, in fact, anticompetitive in the particular circumstances. An agreement of such kind is

unlawful per se.” NYNEX Corp. v. Discon, Inc., 525 U.S. 128, 133 (1998) (internal citations

omitted). The Supreme Court has “found the per se rule applicable in certain group boycott cases.”

Id.

       For example, the Supreme Court condemned as per se unlawful an agreement among a

collection of several competing fashion designers, manufacturers, and suppliers to pressure their

retailers into boycotting rival designers to drive them out of the market. See Fashion Originators’

Guild of Am. v. FTC, 312 U.S. 457, 460–63 (1941). And it applied the per se prohibition to find it

unlawful for a large department store chain to use its “‘monopolistic’ buying power” to organize

a boycott with manufacturers and distributors of its much smaller rival, Klor’s. Klor’s, Inc. v.

Broadway-Hale Stores, Inc., 359 U.S. 207, 209 (1959). In Klor’s, which Plaintiffs rely on, the




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Supreme Court observed that the boycott “t[ook] from Klor’s its freedom to buy . . . in an open

competitive market,” drove “it out of business as a dealer in the defendants’ products,” and

“deprive[d] the manufacturers and distributors of their freedom to sell to Klor’s.” Id. at 213. 33

        The Supreme Court, however, has curtailed the reach of the per se rule in later decisions.

In Northwest Wholesale Stationers, Inc. v. Pacific Stationary & Printing Co., the Supreme Court

clarified that the “mere allegation” of a group boycott cannot by itself justify per se condemnation

“because not all concerted refusals to deal are predominately anticompetitive.” 472 U.S. 284, 298

(1985). There, the Court refused to apply the per se rule when a cooperative buying agency

comprising various retailers expelled a member without providing any procedural protections. Id.

at 285–86, 298. Instead, “[t]he decision to apply the per se rule turns on ‘whether the practice

facially appears to be one that would always or almost always tend to restrict competition and

decrease output . . . or instead one designed to increase economic efficiency and render markets

more, rather than less, competitive.’” Id. (quoting Broadcast Music, Inc. v. Columbia Broad.

System, Inc., 441 U.S. 1, 19–20 (1979)). The Court noted that “[e]xactly what types of activity fall

within the forbidden category is . . . far from certain,” id. at 294, but provided certain indicia where

per se treatment would be appropriate: (i) whether the boycott “cut off access to a supply, facility,

or market necessary to enable the boycotted firm to compete,” (ii) whether the group “possesse[s]

a dominant position in the relevant market,” and (iii) whether the practice is “not justified by

plausible arguments that they were intended to enhance overall efficiency and make markets more

competitive.” Id. at 294; id. at 295 (“[a] concerted refusal to deal need not necessarily possess all

of these traits to merit per se treatment”). In these situations, “the likelihood of anticompetitive



33
  Klor’s is an example of a hub-and-spoke conspiracy, in which the hub has vertical relationships with the other co-
conspirators, who have a horizontal one. The retailer held vertical relationships with the manufacturers and
distributors, who themselves horizontally agreed to hurt Klor’s.


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effects is clear and the possibility of countervailing procompetitive effects is remote.” Id. (citation

omitted).

       The next year, in Federal Trade Commission v. Indiana Federation of Dentists, 476 U.S.

447 (1986) the Court continued this shift away from per se treatment. While noting “it ha[d] in the

past stated that group boycotts are unlawful per se,” the Court declined to “pigeonhole” the

collective action of a group of dentists who refused to submit dental x-rays to insurance companies

for use in determining benefits to be paid, instead applying the rule of reason. Id. at 458–59.

       In NYNEX, the Court continued further in this direction, limiting the per se rule “to cases

involving horizontal agreements among direct competitors.” 525 U.S. at 135. The Court declined

to apply the per se rule to an agreement by a purchaser to buy goods or services from one supplier

rather than another, even though there were no legitimate business reason for the purchasing

decision. Id. This relationship—between the purchaser and supplier—was vertical, unlike the

relationship in Klor’s, which involved both horizontal and vertical agreements that together

constituted the illegal boycott. Id. at 136. In NYNEX, the Court noted that a decision by a buyer to

switch suppliers was typically not anticompetitive but was rather “close to the heart of the

competitive process that the antitrust laws seek to encourage.” Id. at 137.

       Thus, the per se rule survives today only in “group boycotts involving a horizontal

conspiracy to foreclose a market participant[.]” MM Steel, 806 F.3d at 848; cf. United States v.

Brewbaker, 87 F.4th 563, 576 n. 10 (4th Cir. 2023), cert denied, No. 24-124, 2024 WL 4743079

(Nov. 12, 2024) (noting that “[t]he only restraints that the Supreme Court has held to be per se

unreasonable are purely horizontal, or, in other words, are agreements between entities who are

only related as competitors”).




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                     ii.   Analysis

       The parties agree that LMC and the Cigarroa Clinic compete for outpatient services. ECF

No. 167 at 45, ECF No. 145 at 4. This horizontal relationship, Plaintiffs argue, is sufficient to

warrant a per se approach. The Court disagrees.

       “The Supreme Court has explained that whether a restraint is horizontal or vertical depends

on the relationship between the parties to the agreement that imposes the restraint.” Brewbaker, 87

F.4th at 575. Defendants relationship is both horizontal and vertical, and it is the vertical

relationship that plays the larger role here. See Ohio v. Am. Express Co., 585 U.S. 529, 541 (2018)

(unlike horizontal restraints, vertical restraints are agreements among firms at different levels of

distribution— e.g., between sellers and buyers of goods—about matters on which they do not

compete); cf. Brewbaker, 87 F.4th at 575 (applying rule of reason to “hybrid restraint” while noting

that the Supreme Court has “not yet” answered whether the per se rule applies).

       The Cigarroa Defendants provide physician services and outpatient services, and LMC

provides inpatient and outpatient services. But LMC and the Cigarroa Defendants do not compete

on inpatient services, nor can they—the Cigarroa Defendants do not provide inpatient treatment

outside of LMC. Rather, the Cigarroas are the physicians who “sell” the service and LMC is the

hospital that “buys” the service. LMC and the Cigarroa Clinic cannot come to “agreement . . . on

the way in which they will compete with one another” for inpatient services because they are not

competitors in that market. NCAA v. Board of Regents, 468 U.S. 85, 99 (1984). Because the alleged

boycott stems from the parties’ vertical relationship, Defendants do not occupy the “same level of

the market,” Tunica, 496 F.3d at 412, and so the per se rule does not apply.

       Further, application of the per se rule “is appropriate only after courts have had

considerable experience with the type of restraint at issue, and only if they can predict with




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confidence that it would be invalidated in all or almost all instances under the rule of reason.”

Leegin, 551 U.S. at 886–87 (internal citations omitted). To justify a per se approach, a restraint

must have “manifestly anticompetitive effects and lack . . . any redeeming virtue.” Id. at 886

(citations omitted). Defendants identify benefits of their agreement to both Defendants and Laredo

as a whole: the Cigarroas committed to providing emergency call coverage exclusively to LMC in

exchange for LMC upgrading its Cath Labs and resuming its open-heart surgery program to field

a heart care option. ECF No. 169 at 18–20. This agreement limits the risk that a hospital will have

to turn away heart attack patients or have patients wait when an on-call physician performs

coverage at multiple hospitals. Cf. Diaz v. Farley, 215 F.3d 1175, 1184 (10th Cir. 2000) (rejecting

per se approach where “the conduct at issue . . . concerns decisions relating to health care . . .

[b]ecause agreements pertaining to the provision of health care services often raise issues of

professional medical judgment”).

       Plaintiffs alternative argument—that per se treatment is warranted under the Fifth Circuit’s

reasoning in Tunica—fares no better. ECF No. 167 at 46–47. In Tunica, the Fifth Circuit reversed

summary judgment where the district court concluded that the per se rule applies only to group

boycott cases “where one of the conspirators is a direct competitor of the victim.” 496 F.3d at 414–

15. The Fifth Circuit rejected this “bright-line rule” and remanded the case to the district court to

consider the set of factors under Northwest Wholesale Stationers. Id. at 413. While the Fifth Circuit

has recognized that “Tunica potentially expanded per se liability,” it did so only to the extent that

the “direct competitor of the victim” requirement was jettisoned. MM Steel, 806 F.3d at 850.

Tunica did not alter the underlying Northwest Wholesale Stationers factors, nor did it remove the

requirement that the relationship must be horizontal, i.e., “between firms that ordinarily compete

at the same level of the market.” Tunica, 496 F.3d at 412, 414–15.




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       Even assuming the Cigarroas and LMC share a horizontal relationship, Plaintiff do not

meet the Northwest Wholesale Stationers factors. To begin, as Defendants correctly point out, the

Cigarroa-LMC refusal to deal did not “cut off access to a supply, facility, or market necessary to

enable [DHL] to compete.” Id. at 413 (quoting Northwest Wholesale Stationers, 472 U.S. at 294)

(emphasis added). DHL hired two additional interventional cardiologists since the alleged boycott

began and used locums physicians to staff shifts. Being cut off from certain physicians, nurses,

and technicians who would have provided services to compete does not mean that access was cut

off “necessary” to compete. Plaintiffs suggest that, under Malcolm v. Marathon Oil Co., they “need

only show that the defendants’ illegal conduct was a material cause of some of [their] damages.”

642 F.2d at 863 (emphasis added), and that losing access to some cardiologists would satisfy that

requirement. Malcolm, however, considered causation in its analysis of damages—where an

anticompetitive conduct had already been established. Id. Here, the Court must determine whether

there is an antitrust violation ab initio. A “material cause” of some damage is not equivalent to

“cut[ting] off access to a market . . . necessary” to compete.

       Defendants also point out that there were procompetitive reasons for shifting the Cigarroas’

practice to LMC—it positioned LMC to compete against DHL by constructing new facilities with

new equipment. According to Plaintiffs’ expert Dr. Maness, these investments benefited both

physicians and patients. There are now more Cath Labs in Laredo and more interventional

cardiology procedures being performed in Laredo, with a higher proportion of those procedures

being low-cost outpatient procedures. ECF No. 185-8 at 53, 60. Dr. Pflum’s mere disagreements

with these justifications does not mandate a per se approach.

       Indeed, both the vertical relationship between the parties and the nature of the restraint

imposed weigh against applying a per se rule. As the Supreme Court has cautioned, “the category




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of restraints classed as group boycotts is not to be expanded indiscriminately.” Ind. Fed’n of

Dentists, 476 U.S. at 458. The Court declines to do so here and proceeds under the rule of reason.

                c.    Under the Rule of Reason, Are There Anticompetitive Effects?

         Plaintiffs cross-reference their discussion of anticompetitive effects in both their Section 1

and Section 2 claims. See ECF No. 167 at 52. The Court discusses them together as the same

conduct underlies both claims. 34

         Plaintiffs remaining claims are premised on the Cigarroa-LMC agreement, the poaching

and soliciting of Dr. Santos and other DHL employees, and Dr. Feldman’s exclusion. The Court

concludes that, applying the rule of reason, a reasonable jury could not find this conduct caused

anticompetitive effects in the market for interventional cardiology services in Laredo. The first

two are not anticompetitive, 35 and Dr. Feldman’s exclusion, whether considered separately or

taken together, did not cause anticompetitive effects.

                         i.     Applicable Law

         “The rule-of-reason inquiry uses a burden shifting framework.” Impax Laboratories, Inc.

v. FTC, 994 F.3d 484, 492 (5th Cir. 2021). Plaintiffs have the “initial burden . . . to show

anticompetitive effects,” after which “the burden shifts to [defendants] to demonstrate that the

restraint produced procompetitive benefits.” Id. at 492. If defendants do so, either plaintiffs “can

demonstrate that any procompetitive effects could be achieved through less anticompetitive

means” or the “court must balance the anticompetitive and procompetitive effects of the restraint.”


34
   Where, like here, the plaintiffs challenge the same conduct pursuant to Sections 1 and 2, the court can “review
claims under each section simultaneously.” Fed. Trade Comm’n v. Qualcomm, Inc., 969 F.3d 974, 991 (9th Cir. 2020);
see Mid-Texas Communications Sys., Inc. v. AT &T , 615 F.2d 1372, 1389 n. 13 (5th Cir. 1980) (“[i]t is clear . . . that
the analysis under section 2 is similar to that under section 1 regardless [of] whether the rule of reason label is
applied”).
35
  Plaintiffs conceded at oral argument they do not argue that Dr. Santos’ poaching is anticompetitive for their Section
1 claims. For ease, the Court discusses whether the poaching is anticompetitive in this section, even though Plaintiffs
rely on it only for their Section 2 claims.


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Id. “If the anticompetitive harms outweigh the procompetitive benefits, then the agreement is

illegal.” Id.

         “Under a rule of reason analysis, the factfinder considers all of the circumstances to

determine whether a restrictive practice imposes an unreasonable restraint on competition.”

Marucci Sports, 751 F.3d at 374 (citation omitted). These “include the restrictive practice’s

‘history, nature, and effect’ and ‘[w]hether the businesses involved have market power.’” Id.

(quoting Leegin, 551 U.S. at 885–86). “[T]he rule of reason requires plaintiffs to show that the

defendants’ actions amounted to a conspiracy against the market—a concerted attempt to reduce

output and drive up prices or otherwise reduce consumer welfare.” Consol. Metal Prods. v.

American Petroleum Inst., 846 F.2d 284, 292–93 (5th Cir. 1988). “Under the rule of reason, the

antitrust laws protect competition, not particular competitors.” Id. at 293.

        When analyzing whether there are anticompetitive effects, courts measure the cumulative

effect of the defendant’s conduct, rather than each instance of conduct in isolation. See Associated

Radio Serv. Co. v. Page Airways, Inc., 624 F.2d 1342, 1354 (5th Cir. 1980) (while “no one of the

instances of improper conduct, standing alone, would lead to section 2 liability,” “[t]aken together”

they may “show a pattern of exclusionary behavior”); Cont’l Ore Co. v. Union Carbon & Corp.,

370 U.S. 690, 699 (1962) (Section 1). But where conduct falls “within [] well-defined categories,”

such as “refusing to deal,” adding up instances of such lawful conduct cannot total unlawful

conduct. Duke Energy Carolinas, LLC v. NTE Carolinas II, LLC, 111 F.4th 337, 354 (4th Cir.

2024); see also United States v. Google LLC, 687 F. Supp. 3d 48, 68 (D.C.C. 2023) (“[W]hen

determining whether plaintiffs have met their prima facie burden, courts can only aggregate

conduct that is itself deemed anticompetitive (even if only minimally so).”).




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                        ii.    Cigarroa-LMC Agreement

        The Cigarroa Defendants assert they have no duty to deal with Plaintiffs, and so a refusal

to deal cannot be anticompetitive. “[A]s a general matter, the Sherman Act ‘does not restrict the

long recognized right of [a] trader or manufacturer engaged in an entirely private business, freely

to exercise his own independent discretion as to parties with whom he will deal.’” Verizon

Commc’ns Inc. v. Law Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004) (quoting United

States v. Colgate & Co., 250 U.S. 300, 307 (1919)). But this right is not “unqualified.” Id. (citation

omitted). “Under certain circumstances, a refusal to cooperate with rivals can constitute

anticompetitive conduct.” Id. One of these circumstances is laid out in Aspen Skiing Co. v. Aspen

Highlands Skiing Corp., 472 U.S. 585 (1985), which Plaintiffs rely on. Aspen Skiing, however, “is

at or near the outer boundary” of liability, Trinko, 540 U.S. at 409, and does not assist Plaintiffs.36

        The Aspen Skiing exception provides that a defendant’s refusal to deal may be

anticompetitive where the parties previously were engaged in a voluntary, cooperative, and

profitable venture that the defendant terminated and where the defendant’s decision to do so cannot

be explained by anything other than a desire to harm competitors. See Aspen Skiing Co., 472 U.S.

at 608–11; see also Trinko, 540 U.S. at 407–09 (discussing Aspen Skiing). In Aspen Skiing, two

competitors shared profits for several years as a result of jointly issuing ski passes to both

companies’ mountains, until the larger of those companies abruptly ended the relationship. Aspen

Skiing, 472 U.S. at 587–95. But it not only stopped offering the joint pass. Id. When its former

partner tried to recreate the multi-mountain pass by offering to buy the other’s tickets at retail price

and offering its own vouchers to customers for the other’s mountain, it refused. Id. Thus, the larger



36
  While Aspen Skiing was a Section 2 case, because Section 2’s anticompetitive-conduct requirement is “essentially
the same” as the Rule of Reason inquiry applicable to Section 1 claims, Qualcomm, Inc., 969 F.3d at 991, Aspen Skiing
shapes whether the refusal-to-deal is anticompetitive under Section 1 as well. See infra note 34.


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company acted in a predatory fashion, deliberately harming itself (and consumers) by refusing to

honor joint-mountain passes to harm its competitor more. And so the Supreme Court upheld a jury

verdict, reasoning that “[t]he jury may well have concluded that [the defendant] elected to forgo

these short-run benefits because it was more interested in reducing competition . . . over the long

run by harming its smaller competitor.” Id. at 608, 611.

       The Supreme Court has “declined to extend the exception when presented with facts that

differ materially from those presented in Aspen Skiing” and “the courts of appeals have followed

suit.” OJ Commerce, LLC v. KidKraft, Inc., 34 F.4th 1232 (11th Cir. 2022) (citing cases). At least

three distinguishing factors weigh against applying Aspen Skiing here.

       First, the relationship between the Cigarroas and DHL is unlike the two companies in Aspen

Skiing. The Cigarroas are independent physicians who held privileges at both DHL and LMC.

They were not involved in any profit-sharing relationship or similar joint offering like Aspen but

are instead compensated separately by insurers and the hospital itself. Second, the Cigarroas were

unsatisfied at DHL, as demonstrated by Dr. Cigarroa’s requests for more resources. And DHL’s

own statements reveal that it intended to expand without the Cigarroas involvement, and did not

try to retain the Cigarroas after they put in their notice. Unlike Aspen, both parties here were ready

to separate. Third, there is no evidence that the Defendants sacrificed “short-run benefits . . . in

exchange for a perceived long-run impact on its smaller rival.” Id. at 608. The Cigarroa Defendants

and LMC both benefited from LMC’s investment in new equipment and facilities, LMC was better

positioned to compete against DHL, and the Cigarroas moved to a hospital that they concluded

would provide “general quality” care to patients. Stearns Airport Equip. Co. v. FMC Corp., 170

F.3d 518, 525 (5th Cir. 1999) (“Competition grounded in nonprice considerations such as

reliability, maintenance support, and general quality is competition on the merits.”).




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       In response, Plaintiffs point to American Central Eastern Texas Gas Co. v. Union Pacific

Resources Group. 93 F. App’x 1 (5th Cir. 2004). There, the Fifth Circuit affirmed an arbitrator’s

finding under a clearly erroneous standard that the defendant engaged in exclusionary conduct,

because it “was a monopoly,” that it “refused to deal with [its competitor] by acting in bad faith

and offering contract terms that were anticompetitive,” and that it “had no valid business

justification for refusing to deal.” Id. at *10. Plaintiffs do not argue that Defendants acted in bad

faith or offered anticompetitive contract terms, and, as discussed, the Cigarroas had independent

reasons to take their practice to LMC. Moreover, in affirming the arbitrator’s finding under a

“clearly erroneous” standard, the Fifth Circuit did not necessarily endorse the arbitrator’s

reasoning. See id. (“Having willingly submitted its case to arbitration, [the defendant] left it to the

arbitrator to determine whether the protection of the antitrust laws was warranted in this case.”).

       Plaintiffs’ theory of harm would require that the Cigarroas stay put at DHL to avoid

antitrust liability and render this Court into a “central planner” of interventional cardiology

services—a role that it is “ill suited” for. Trinko, 540 U.S. at 408.

       While the evidence shows that Defendants sought to increase their market share at the

expense of DHL—indeed run them out of business—this is mere competitive intent, which does

not turn a refusal to deal into an anticompetitive act. What matters is the “effect of that conduct,

not [] the intent behind it.” United States v. Microsoft Corp., 253 F.3d 34, 59 (D.C. Cir. 2001); see

also Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1078 (10th Cir. 2013) (“Were intent to harm

a competitor alone the marker of antitrust liability, the law would risk retarding consumer welfare

by deterring vigorous competition.”).




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                          iii.   Dr. Santos Poaching

           Plaintiffs claim that the poaching and soliciting of Dr. Santos and DHL’s employees is

anticompetitive conduct. 37 In support, they rely solely on Taylor Publishing v. Jostens, Inc., 216

F.3d 465 (5th Cir. 2000).

           Taylor Publishing dealt with two competing school yearbook manufacturers, who each

contracted yearly with schools to manufacturer yearbooks. Id. at 470. One of them developed a

plan to monopolize the market, which included a campaign to circumvent non-competes, hire the

other’s key sales representatives, and use them to steer the competitor’s former customers to the

other, regardless of any remaining commitments. Id. at 471, 480. The Fifth Circuit held that where

the monopolist (i) engages in predatory hiring intending to circumvent noncompete clauses, and

(ii) intends to induce the targeted talent to act disloyally toward the competitor by steering its

customers toward the monopolist, such conduct is anticompetitive. Id. at 482. But Taylor

Publishing also recognized that because of the “high social and personal interest in maintaining a

freely functioning market for talent,” “hiring talent cannot generally be held exclusionary even if

it does weaken actual or potential rivals and strengthen a monopolist,” and so “merely seeking out

the services of [a competitor’s] employees is not predatory.” Id. at 479 (citation omitted).

           Defendants’ conduct does not fit within Taylor Publishing’s exception to the general rule.

While Defendants were aware of Dr. Santos’ noncompete, there is no evidence that Defendants

intended to, or did, induce Dr. Santos to “act disloyally” to DHL by “steering its [patients] to

[LMC].” Taylor Publishing, 216 F.3d at 481 (quoting Adjusters Replace-A-Car v. Agency Rent-A-

Car, Inc., 735 F.2d 884, 894 (5th Cir. 1984)). Plaintiffs claim “the intent was to convert Dr.

Santos’s patients to Defendants,” but their citations to the record do not support this. ECF No. 167



37
     See infra note 35.


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at 58. While evidence reveals that Dr. Santos sought to recruit other employees of DHL, nothing

suggests Dr. Santos sought to steer its patients away. Nor is there any evidence that Defendants

sought to hire Dr. Santos and DHL’s employees “for purposes of denying [them] to [DHL].”

Taylor Publishing, 216 F.3d at 480 (citation omitted). The record reveals that LMC hired Dr.

Santos and others to work at LMC, a “legitimate business need.” Id. The only reason Dr. Santos

could not immediately start was because of Plaintiffs’ own noncompete agreement.

                          iv.    Dr. Feldman’s Exclusion

           Plaintiffs do not argue that the anticompetitive effect is “increased prices [or] decreased

output” in the interventional cardiology market. Impax Labs, 994 F.3d at 493. Instead, they argue

that the original market was uncompetitive and underserved, that they tried to increase output and

competition, and so the anticompetitive harm is a “lack of price decrease and lack of greater output

increase,” which decreased consumer welfare due to lower quality of services. 38 ECF No. 167 at

52, 62.

           Plaintiffs rely solely on Dr. Pflum’s conclusions to establish the anticompetitive effects of

Defendants’ conduct. 39 See ECF No. 167 at 51–52, 61–65. But Dr. Pflum offers no conclusions

about a “lack of price decrease and lack of greater output increase.” Dr. Pflum analyzed the

anticompetitive effects in two aspects: the interference with DHL’s recruiting and the refusal to

deal. 40 ECF No. 188-2 at 69. According to Dr. Pflum, excluding Dr. Feldman and Dr. Blanc was

anticompetitive because Defendants imposed artificial costs on potential recruits that resulted in



38
  The Court is skeptical of Plaintiffs’ theory that anticompetitive harm in the relevant market here can be shown by a
lack of greater output increase alone, as whether more procedures are performed in Laredo is not only dependent on
how many interventional cardiologists there are, but the needs of patients and other socio-economic factors.
39
  While Plaintiffs also cite Dr. Hickey’s report, it merely states general conclusions about locums physicians without
tying them to this case. ECF No. 167-1 at 29.
40
     Dr. Pflum did not consider the anticompetitive effects of Dr. Santos and DHL’s employees recruitment.


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barriers to entry in Laredo and “restricte[d] the supply of interventional cardiology services to

Laredo.” Id. He also concluded that the Cigarroa-LMC agreement, “when combined with

Defendants’ alleged interference in DHL’s recruiting,” had anticompetitive effects because it

“denied DHL a critical input into its services,” “prevented DHL from replacing the lost input from

other suppliers,” and so harmed the competitive process. Id. (emphasis added). According to Dr.

Pflum, DHL was forced to either stop providing 24/7 STEMI call coverage or use more expensive

locum tenens, which “may also provide a lower quality patient experience” and prevented the

development of DHL’s structural heart program. Id. at 70, 76.

       Drawing from these conclusions, Plaintiffs argue that Defendants’ conduct harmed the

competitive process and patients in the relevant market because DHL was (i) unable to develop a

planned structural heart program, leaving Laredo residents without a local option for the service,

(ii) forced to use locums tenens physicians, eroding the quality of care it could provide, (iii)

blocked from hiring and retaining interventional cardiologists, leaving Laredo underserved, and

(iv) excluded from serving Defendants’ higher-level of care patients, leaving those patients to

travel further for care. ECF No. 167 at 62.

       But Dr. Feldman’s exclusion from Laredo is insufficient to establish an antitrust violation

under Fifth Circuit precedent. The record does not contain evidence that “sufficient competitors

[did not] remain to ensure that competitive prices, quality, and service persist[ed].” Marucci

Sports, 751 F.3d at 377 (citing Rebel Oil Co., Inc. v. Atlantic Richfield Co., 51 F.3d 1421, 1433

(9th Cir. 1995) (“Of course, conduct that eliminates rivals reduces competition. But reduction of

competition does not invoke the Sherman Act until it harms consumer welfare.”)).

       Plaintiffs were able to hire additional cardiologists and locum tenens, and Ms. Montes-

Ewing acknowledged that DHL’s services to patients were unaffected, even after Defendants’




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conduct. Indeed, no locums physicians were hired for months after Dr. Feldman turned down

DHL’s offer. That DHL’s remaining cardiologists worked longer shifts, by itself, is not evidence

of harm to patients. Nor is there any evidence that any patient in Laredo was unable to access

needed services. And Dr. Pflum did not offer any conclusions that, absent Defendants’ conduct,

there would have been any price decreases for interventional cardiology procedures in Laredo, nor

that prices were above competitive levels in Laredo at the outset. Under these circumstances, “[a]

restraint should not be deemed unlawful, even if it eliminates a competitor from the market.”

Marucci Sports, 751 F.3d at 377.

       While Plaintiffs argue that Marucci Sports does not apply because Laredo was underserved

and so “there were never competitive prices, quality, or services,” ECF No. 167 at 51, an

underserved market is not necessarily a market devoid of competition over “prices, quality, or

services,” and Dr. Pflum did not offer any conclusions to support this theory. See ECF No. 188-2

at 63–65 (discussing underserved market without stating it affected price, quality, or services, but

merely that there were barriers to entry and market power).

       Nor does the record show that Defendants’ conduct caused patients—the consumers in the

market for interventional cardiology services in Laredo—harm. Dr. Pflum did not conclude that

patient care was negatively impacted by locums, only that it “may” be. Id. at 76–77; see also ECF

No. 167-1 at 29 (Dr. Hickey discussing locums effect on patients, noting that “the patient may

never see that doctor again and would need to re-establish a relationship with a new physician”)

(emphasis added). Nor did Dr. Pflum conclude that prices for patients (or insurers) rose. Here

again, he concluded only that “patients who require such treatment may have been denied the

option of seeking those treatments in Laredo rather than travel to San Antonio.” ECF No. 188-2 at

76. While he concluded that “[p]atients have also been denied the choice of additional




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interventional cardiologists to seek care from, including for example Dr. Feldman,” id. at 77, there

is no evidence that this caused patient harm. Likewise with the proposed “pipeline” that Dr.

Feldman was supposed to create or the structural heart program that DHL would build—even with

Ms. Montes-Ewing’s testimony about potential plans, the record does not contain evidence that

any pipeline or program could have been established. Speculation does not create fact issues, and

“speculation about anticompetitive effects is not enough” to show market injury. Marucci Sports,

751 F.3d at 376 (quoting Roy B. Taylor Sales, Inc. v. Hollymatic Corp., 28 F.3d 1379, 1385 (5th

Cir. 1994)).

           Plaintiffs last effort to establish anticompetitive harm based on a theory of raising rivals

costs is unpersuasive. True, Dr. Pflum concluded that Defendants’ conduct was anticompetitive in

that it raised DHL’s costs. 41 ECF No. 188-2 at 70. But the Fifth Circuit has stated that it is

“skeptical of raised costs as a standalone theory,” BRFHH Shreveport, LLC v. Willis-Knighton

Med. Ctr., 49 F.4th 520, 529 n. 5 (5th Cir. 2022), and Plaintiffs have failed to put forth evidence

of other, non-speculative, anticompetitive harms in the relevant market. On this record, this theory

is consistent with harm to a competitor, not to competition or to any consumers in the relevant

market.

           Without further evidence, Plaintiffs have failed to create a factual dispute over whether

Defendants’ conduct, taken individually or together, had anticompetitive effects in the market for

interventional cardiology services in Laredo. Because Plaintiffs do not carry their burden under

the rule of reason, the Court need not reach Defendants’ alternative argument that their conduct is

not anticompetitive as a matter of law because it merely “shuffle[s] existing market resources.”

See ECF No. 145 at 32.



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     Dr. Pflum is unclear whether he considers raising rivals’ costs to be antitrust injury or an anticompetitive effect.


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     E. Section 2 Claims

         Section 2 of the Sherman Act “declares that a firm shall not ‘monopolize’ or ‘attempt to

monopolize.’” Trinko, LLP, 540 U.S. at 407 (quoting 15 U.S.C. § 2).

         Unlawful Monopolization. To state a claim for unlawful monopolization, a plaintiff must

show that a defendant (1) possesses monopoly power in the relevant market and (2) achieves or

maintains its monopoly power through exclusionary—anticompetitive—conduct. 15 U.S.C. § 2;

see Trinko, 540 U.S. at 407; Stearns, 170 F.3d at 522 (where the defendant “acquired or maintained

that power willfully, as distinguished from the power having arisen and continued by growth

produced by the development of a superior product, business acumen, or historic accident”). “[T]o

be condemned as exclusionary,” the conduct “must have an ‘anticompetitive effect’”; “it must

harm the competitive process and thereby harm consumers,” and “harm to one or more competitors

will not suffice.” 42 Microsoft Corp., 253 F.3d at 58.

         Attempt to Monopolize. To state a claim for unlawful attempted monopolization,

plaintiffs must show “(1) that the defendant has engaged in predatory or anticompetitive conduct

with (2) a specific intent to monopolize and (3) a dangerous probability of achieving monopoly

power.” Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993). “[T]he conduct

requirement is arguably the single most important element of this offense.” Taylor Publishing, 216

F.3d at 474 (citation omitted).

         Conspiracy to Monopolize. “A conspiracy to monopolize can be established only by proof

of (1) the existence of specific intent to monopolize; (2) the existence of a combination or




42
   While the Fifth Circuit has held that Section 2 “does not explicitly require a plaintiff to prove an injury to
competition” and “must prove only the existence of monopoly power and the willful continued maintenance of that
power,” as “[i]njury to competition is presumed to follow from the conduct proscribed by § 2,” Walker v. U-Haul Co.
of Mississippi, 747 F.2d 1011, 1013 (5th Cir. 1984), this is in the context of “standing,” not the underlying antitrust
violation. See Doctor’s Hosp., 123 F.3d at 305.


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conspiracy to achieve that end; (3) overt acts in furtherance of the combination or conspiracy; and

(4) an effect upon a substantial amount of interstate commerce.” Stewart Glass & Mirror, Inc. v.

U.S. Auto Glass Disc. Centers, Inc., 200 F.3d 307, 316 (5th Cir. 2000) (citation omitted).

Agreements that do not harm the competitive process do not amount to a conspiracy to monopolize.

NYNEX, 525 U.S. at 139. This showing is necessary even though competitive harm is not an

explicit element of a conspiracy to monopolize claim, because the purpose of the Sherman Act is

“to protect the public from the failure of the market . . . against conduct which unfairly tends to

destroy competition itself.” Spectrum Sports, 506 U.S. at 458; see also IIIB Philip E. Areeda &

Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶

809 (4th ed. 2015) (“Any arrangement that could be considered a ‘conspiracy’ to monopolize

[under § 2] must also be an unreasonable ‘contract,’ ‘combination,’ or ‘conspiracy’ in restraint of

trade offending § 1.”).

       1. Plaintiffs’ Section 2 Claims Fall with Their Section 1 Claims

       Section 2 claims, as discussed, have a common requirement—the conduct must be

anticompetitive and have anticompetitive effects.

       If a plaintiff cannot show anticompetitive conduct under Section 1, there are no Section 2

claims available. See infra note 34; Qualcomm, 969 F.3d at 991 (if “a court finds that the conduct

in question is not anticompetitive under § 1, the court need not separately analyze the conduct

under § 2”); Standard Oil Co. v. United States, 221 U.S. 1, 61–62 (1911) (“[W]hen the second

section [of the Sherman Act] is thus harmonized with . . . the first, it becomes obvious that the

criteria to be resorted to in any given case for the purpose of ascertaining whether violations of the

section have been committed, is the rule of reason guided by the established law.”).




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        Plaintiffs admit they rely on the “same evidence of agreements that establish their Section

1 conspiracy.” ECF No. 167 at 53. Given that the Court concludes no reasonable jury could find

Defendants’ conduct caused anticompetitive effects, see infra pp. 55–62, Plaintiffs’ Section 2

claims all fail. Whether considered separately or together, Defendants’ conduct does not amount

to anticompetitive conduct that harms the relevant market under Section 2. Two out of the three

conspiracies—the Cigarroa-LMC agreement and poaching and soliciting of Dr. Santos and DHL’s

employees—fall within “well-defined categories.” Duke Energy Carolinas, LLC, 111 F.4th at 354;

see infra pp. 55–59. The remaining conduct—the exclusion of Dr. Feldman—is not

anticompetitive in the antitrust sense as it lacks anticompetitive effects.

    F. Tortious Interference with Prospective Relations

        Plaintiffs assert two claims for tortious interference with prospective relations: one against

Dr. Cigarroa and the other against the Cigarroa Clinic and LMC, alleging a conspiracy with Dr.

Cigarroa. ECF No. 22 ¶¶ 202–18. Both rest on the allegation that Defendants “wrongfully and

intentionally interfered with [LPG’s] prospective contract and business relationship with Dr.

Feldman.” Id. ¶¶ 203, 213.

        The elements of a civil conspiracy claim are: “1) two or more persons; 2) an object to be

accomplished; 3) a meeting of the minds on the object or course of action; 4) one or more unlawful,

overt acts; and 5) damages as the proximate result.” Homoki v. Conversion Servs., Inc., 717 F.3d

388, 404–05 (5th Cir. 2013). “Civil conspiracy is a derivative tort; therefore, liability for a civil

conspiracy depends on participation in an underlying tort.” Id. at 402. “In order to adequately plead

a claim for civil conspiracy, a plaintiff must adequately plead the underlying tort.” Id. To prevail

on a claim for tortious interference with prospective business relations, the plaintiff must establish

that:




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        (1) there was a reasonable probability that the plaintiff would have entered into a
        business relationship with a third party; (2) the defendant either acted with a
        conscious desire to prevent the relationship from occurring or knew the interference
        was certain or substantially certain to occur as a result of the conduct; (3) the
        defendant’s conduct was independently tortious or unlawful; (4) the interference
        proximately caused the plaintiff injury; and (5) the plaintiff suffered actual damage
        or loss as a result.

Coinmach Corp. v. Aspenwood Apartment Corp., 417 S.W.3d 909, 923 (Tex. 2013).

        Defendants assert there is no evidence of the second and third elements. Dr. Cigarroa

openly opposed Dr. Feldman’s arrival in Laredo, which supports his “conscious desire to prevent

the relationship.” Plaintiffs, however, fail on the third element. Plaintiffs alleged that Dr.

Cigarroa’s conduct was “independently tortious or unlawful” because it violated the United States

Anti-Kickback Law and the Texas Patient Solicitation Act by conditioning future patient referrals

to UTSA on Dr. Feldman’s exclusion. ECF No. 22 ¶ 209. Plaintiffs have not explained how

Defendants’ conduct violates these statutes and instead merely assert there is “sufficient evidence”

without further explanation. ECF No. 167 at 69. And even if it did, a sister court has held that

neither statute serves as a predicate for a tortious interference with prospective relations claim

under Texas state law. See PPD Enterprises, LLC v. Stryker Corp., No. 4:16-CV-0507, 2018 WL

2335336, at *1–2 (S.D. Tex. Mar. 2, 2018). Plaintiffs offer no argument to the contrary.

        Plaintiffs also claim the underlying antitrust violation is “independently tortious or

unlawful.” Id. ¶¶ 210, 217. Even if this could sustain a tortious interference with contract claim,

Plaintiffs’ tortious interference claims would fail as its antitrust claims fail.

                                           CONCLUSION

        For the foregoing reasons, Defendants’ motion for summary judgment (ECF No. 145) is

GRANTED.




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       IT IS FURTHER ORDERED that Plaintiffs’ claims against Defendants are DISMISSED

WITH PREJUDICE.

       IT IS FURTHER ORDERED that Plaintiffs shall take nothing in this case against

Defendants. A final judgment pursuant to Rule 58 will follow.

       It is so ORDERED.

       SIGNED this 28th day of January, 2025.




                                            XAVIER RODRIGUEZ
                                            UNITED STATES DISTRICT JUDGE




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